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          Exhibit 26
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                                  Downtown News & Events
                                           Monday, December 2, 2013 
                                                                                                       The Statue of Liberty at sunset




             All Is Not Well with Geothermal System at
             BPCA Facility
             Authority Plans to Scrap Expensive Power and Climate System




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             The Battery Park City Authority (BPCA) is planning to scrap and replace a
             geothermal power and climate control system in the headquarters of its Parks
             Conservancy that was originally hailed as cutting-edge technology and an example of
             the Authority's commitment to environmentally sustainable design. The Parks
             Conservancy facility, located at Battery Place and Second Place, is housed within the
             Visionaire condominium and was constructed in 2010.
              
             At the Authority's November 19 board meeting, Gwen Dawn, the BPCA's senior
             vice president for asset management outlined a contract with Elite Construction for
             management of the project. "The original plant and mechanical system was based on
             a geothermal well, a couple of them, which didn't produce as anticipated," she said.
             "We've gone through an investigation, gotten recommendations on the appropriate
             methodology for getting the mechanical system operating to capacity that we are
             going to need, installing a chiller plant within the facility and we have a designer on
             board. This is the contract for the construction management, which will be about an
             18 month project."
              
             Martha Gallo, the only member of the BPCA board who lives in the community,
             asked, "those geo-thermal wells, were they an experiment?" Ms. Dawson answered,
             "there was a desire at the time to have the Parks headquarters be a stand-alone
             facility that was capable of having other systems going down in the area, and there
             was also an emphasis on green construction. This was part of that effort at the time.
             Unfortunately, the wells were just not capable of producing in order to meet the
             needs of the building."
              

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             Ms. Gallo asked, "Had the manufacturer told us that? How much did we spend on
             the geo-thermal wells?" Ms. Dawson replied, "I'll have to get back to you on exactly
             what the expenditure on the wells is -- I don't have that at my fingertips at the
             moment. But until the wells were drilled, there was no way of knowing."
              
             BPCA board member Donald Capoccia took up this line of questioning, asking,
             "there was no geo-tech engineer that looked at this in advance?" Ms. Dawson
             replied, "we had an engineering firm on board that designed it and recommended it,
             based on what they knew at the time. But it ultimately just didn't produce."
              
             Authority board chair Dennis Mehiel weighed in, "there's no mystery to a geo-
             thermal system. You can put your own liquid in it, it's ambient temperature. I don't
             know, maybe because we're on created land out in the river, it's somehow different.
             But you pump it back up and you've got fans and you blow it. I did this in my
             house."
              
             Mr. Capoccia then asked, "were the wells not deep enough?" Ms. Dawson answered
             that, "the wells were 1800 feet deep." Mr. Mehiel added, "I went down 1200 feet. It's
             a no-brainer." Ms. Dawson noted, "they don't always work," and added that, "the
             water that ultimately wound up in the system was brackish."
              
             Mr Mehiel then observed, "that just makes no sense to me at all. A closed-loop
             system in which we introduce the water." Mr. Capoccia explained, "they were
             looking to tap hot water well belong grade." Mr. Mehiel replied, "whatever we've
             spent, we've blown in it."
              
             Ms. Dawson noted that, "we've investigated and we've pursed means of trying to use
             it and to modify it and to fix it and to add to it, and at this point there is nothing that
             anybody has been able to recommend to us that will enable us to do that."
              
             Mr. Mehiel then asked for a semantic clarification: "So we call it repair and
             modification, but what you're saying is that this thing is going to be replaced -- a
             whole new system?" Ms. Dawson answered, "yes." She added that the fee for Elite
             Construction to manage the project is $294,000. Since construction management is
             just one component of any project, and does not include design costs or fees for
             subcontractors, the total cost for this project may eventually exceed $1 million.
              
                                                                 Matthew Fenton
                                                              photo by Robert Simko 




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             The NYC Rescue Mission Celebrates 
             15th Annual Great Thanksgiving Banquet




                              Kathie Lee Gifford and Hoda Kotb, co­hosts of the Today Show,
                                   volunteered at the NYC Rescue Mission's 15th Annual 
                                               Great Thanksgiving Banquet 

             On Monday, November 25, the New York City Rescue Mission (NYCRM), located
             at 90 Lafayette Street, hosted its 15th Annual Great Thanksgiving Banquet. Many
             celebrities and local elected officials lent a hand to serve hundreds of needy New
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             Yorkers a festive pre-Thanksgiving meal, along with live music, a raffle, and extra
             servings of good cheer.




                                       Helping hands NYC Fire Commissioner Salvatore
                                      Cassano, NYC Rescue Mission Executive Director 
                                     Craig Mayes and NYC Police Commissioner Ray Kelly

             For over 140 years, the NYCRM has been transforming lives by providing shelter,
             sustenance and support to the homeless.  In the words of executive director Craig
             Mayes, "When we place a plate of food in the outstretched hands of our guests each
             day, I pray that we also dish out at least a little hope."  In that spirit he kicked off the
             mission's 'Season of Hope' by running his first New York City marathon on
             November 3, raising thousands of dollars.




                          Fresh Air Fund chef Nicki Bogie and NYC Rescue Mission chef Pedro
                           Rodriguez who competed together in the September Home Town
                          Heroes episode of "Chopped." Ms. Bogie was assisted by six Fresh Air
                          Fund students to help prepare and serve the Thanksgiving Banquet.
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             The NYCRM is currently adding three new floors in order to expand from 100 to
             240 beds, and to accommodate overnight housing for women for the first time. In
             addition the 9-12 month recovery program will double its intake from 30 to 60 men.
             The mission also provides medical services, tutoring and job training for those who
             seek help.




                             Some of the glittering stars who shone their light on the event: 
                           Miss New York 2013, Amanda Mason; Miss Connecticut 2013 Kaitlyn
                                     Tarpey; and Miss America 2014, Nina Davuluri

             The Shop for the Homeless Christmas Catalog is a great way to support the
             NYCRM this holiday season, by purchasing specific items for someone in need. To
             learn more about the NYC Rescue Mission or to volunteer, visit nycrescue.org




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             Eyes to the Sky
             December 2 - 6, 2013   
             Song of the Morning Sky with Four Planets

                                                                                                On a singing clear morning
                                                                                                a gem of light is to be
                                                                                                found in the soft blue
                                                                                                blanket that is Earth's
                                                                                                atmosphere. It is planet
                                                                                                Jupiter, visible rather high
                                                                                                in the west until quarter to
                                                                                                7, when it is overwhelmed
                                                                                                by daylight. Best to locate
                                                                                                the namesake of the king of
                                                                                                the gods earlier so that you
                                                                                                may enjoy the challenge of
                                                                                                finding it in daylight, just
                                                                                                before sunrise. The sun
                                                                                                rises at about 7 in the
                                                                                                coming days.

                                                                                                Find Sirius the Dog Star,
                                                                                                the brightest true star
                                                                                                visible in the Northern
                                                                                                Hemisphere, close to the
                                                                                                horizon below and left,
                                                                                                south, of Jupiter at about
                                                                                                6:20. The second brightest
                                                                                                star in our skies, red-orange
                                                                                                Arcturus, is opposite
             Beautiful shot of Mercury and Saturn in the eastern,                               Jupiter, quite high in the
              predawn sky on Tuesday, November 26.                                              east and visible into
             EarthSky facebook friend Jann Peter Normann 
             captured this over Oslofjord, Norway.                                              twilight.
                                                                                                 
             Planet Mars, not so bright, is best
             seen by 6:20, a tawny radiance mid-
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             sky in the south, at the top of a
             diagonal line of dignitaries. Bright
             star Spica shines below and to the
             left of Mars followed by planet
             Saturn, which is low to the
             southeast horizon. Below Saturn, at
             the end of the diagonal span, shines
             Mercury, brightest of all. Saturn
             recently began to climb into the
             morning sky, whereas Mercury is
             near the end of its morning
             apparition. The messenger of the
             gods persists even as the horizon                                   Space.com diagram for November 25.  
             brightens to a pale peach with the                                      Saturn is now above Mercury.
             sun's approach. 

             Comet ISON, the visitor from the outer edge of our solar system that brought sky
             gazers back to celestial mornings, may not have survived its turn around the sun. It
             was anticipated to appear, perhaps to the naked eye, near Mercury and Saturn in early
             December. Find an unobstructed view to the east-southeast horizon under clear
             skies to revel with the planets and, most likely, just the memory of the once-deemed
             Comet of the Century.




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                        Comet ISON appears to have lost some of its sizzle as it plunged near the Sun on Thanksgiving
                       Day. Sun-watching satellites saw the comet approach the Sun on November 28, but initially it did
                             not reappear after passing about 700,000 miles above the Sun's surface. However, it was
                      rediscovered by a Sun-watching spacecraft on November 29, suggesting that while the comet may have
                        lost significant chunks of material, at least some of it remains. Scientists say it's too early to know
                         whether the comet will still stage a good showing in the morning skies of early December.  In this
                                             diagram by Earthsky.org:  +  =  ISON close to the sun

                                                                 Judy Isacoff
                                                                naturesturn.org
              




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             Have a Say
             The New York Rising Community Reconstruction Program
              
             The Governor's Office of Storm Recovery has implemented a community
             driven process to support recovery and increase resiliency in communities
             affected by Hurricanes Sandy and Irene and Tropical Storm Lee.
              
                                          A recently released Lower Manhattan
                                          interactive map is designed to allow
                                          community residents to provide input to the
                                          Reconstruction Planning Committee. Please
                                          click HERE to explore the map and provide
                                          feedback about recovery and resiliency needs
                                          in Lower Manhattan, and your ideas on how
                                          to solve them.
                                           
                                          The final Community Reconstruction Plan
                                          proposing strategies and projects to meet the
                                          community's short and long term goals is
                                          due to be completed by March 31, 2014. 
              
             The second public Lower Manhattan meeting will be held this evening,
             December 2nd from 6:00pm - 8:00pm at the University Settlement at the
             Houston Street Center Gymnasium, 273 Bowery. For more information
             about this program, click HERE. 
              




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             Today's Calendar
              




              
             This Day in History - Monday December 2  
             1697 - St. Paul's Cathedral opens in London
             1804 - Napoleon Bonaparte is crowned emperor of France in Paris
             1816 - 1st savings bank in U.S. opens (Philadelphia Savings Fund Society)
             1845 - Manifest Destiny: U.S. President James K. Polk announces to
             Congress that the U.S. should aggressively expand into the West
             1867 - In a New York City theater, British author Charles Dickens
             gives his first public reading in the United States
             1901 - Gillette patents 1st disposable razor
             1929 - 1st skull of Peking man found 50km from Peking at Tsjoe Koe Tien
             1941 - Yamamoto sends his fleet to Pearl Harbor
             1942 - 1st controlled nuclear chain reaction (Enrico Fermi-University of Chicago)
             1952 - 1st human birth televised to public (KOA-TV Denver, CO)
             1954 - U.S. Senate censures Joe McCarthy (Sen-R-Wisc) for "conduct that
             tends to bring Senate into dishonor & disrepute"
             1957 - 1st U.S. large-scale nuclear power plant opens (Shippingport PA)
             1961 - Fidel Castro declares he's a Marxist, & will lead Cuba to Communism
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             1964 - Ringo Starr's tonsils are removed
             1969 - Boeing 747 jumbo jet 1st public preview (Seattle to NYC)
             1970 - Environmental Protection Agency begins (Dir: William Ruckelshaus)
             1971 - Soviet Mars 3 is 1st to soft land on Mars
             1972 - "December Giant" largest sinkhole in U.S. collapses (Alabama)
             1980 - 4 American Maryknoll nuns killed by death squads in El Salvador
             1982 - 1st permanent artificial heart successfully implanted (University of Utah) 
             in retired dentist Barney Clark; lived 112 days with Jarvic-7 heart
             1986 - Dow-Jones index hits record 1,955.57
             1990 - 1st time 12 people in space
             1993 - Dow-Jones hits record 3,702.11
             1994 - Achille Lauro (Willem Ruys) sinks off the coast of Somalia
             2001 - Enron files for Chapter 11 bankruptcy
             2012 - Borut Pahor is elected President of Slovenia
             2012 - Pier Luigi Bersani is elected Italian Prime Minister
             edited data courtesy Historyorb.com and NYTimes.com archives

                                             --------------------------------------------------------------
                                                                             
             Monday December 2
                                                                              
             Greenmarkets
             Union Square: 8am - 6pm  

             The National Museum of the American Indian 
             Exhibitions, workshops, film screenings and lectures for adults and children. Admission is free. 
             Âs NutayuneÂn/We Still Live Here: An award-winning documentary, it explores the cultural
             resiliency of the Wampanoag, the tribe that greeted the Pilgrims at Plymouth in 1620, and tells the
             story of Jesse Little Doe Baird's efforts to restore Native language fluency to members of southern
             New England's Wampanoag communities. At 12pm and 2pm. 
             Stories from the Seventh Fire: Animations for children based on the paintings of Anishinaabe artist
             Norval Morrisseau tell the stories of the trickster Wesakechak. 10:30 and 11:45am. 
             In Our Language: Lively short works present the significance and pleasure of speaking one's own
             indigenous language. 1pm and 3pm.  
             Today:Beaded Moccasin Demonstration 2-3:30pm.
             For a complete list of daily events, visit  americanindian.si.ed

             Downtown Libraries 
             Battery Park City Library 175 North End Ave. (212) 790-3499 nypl.org  
             New Amsterdam Library 9 Murray Street (212) 732-8186 nypl.org 
              
             Gridiron Glory at the Liberty Science Center
             Football history, culture, and more is combined into an exciting exhibition. Visitors can test agility,
             strength, reaction time, throwing abilities, and more in the interactive Training Camp where wall
             panels give performance tips from renowned coaches and trainers. For more information about
             LSC exhibits, click HERE. For location and hours, click HERE. 
             Other current exhibits include the Da Vinci Surgical Robot; Energy Quest; Art of Science and the ever
             popular Touch Tunnel. lsc.org Visit LSC.org/BPC or HERE for more information.

             Free Tours of Tweed Courthouse and City Hall 
             Visit two of New York City's most architecturally distinguished civic monuments. Tours are
             offered free on weekdays. To make a reservation, visit HERE or call (212) 788-2656.

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             nyc.gov/designcommission 

             Stories & Songs at 6 River Terrace 
             Participatory music and storytelling for infants, toddlers and preschoolers accompanied by an adult.
             Monday mornings 3 sessions (through Dec. 16); Wednesday mornings 4 sessions (through Dec. 4).
             More info and registration at: 212.267.9700 x 363 or bpcparks.org

             Parent & Baby Yoga at 6 River Terrace
             Yoga for new parents and babies (newborn until crawling). 1-2:15pm or 2:30-3:45pm, 6 River
             Terrace, $130. More info and registration at: 212.267.9700 x 363 or bpcparks.org

             Bach at One at St. Paul's Chapel 
             The Choir of Trinity Wall Street and Trinity Baroque Orchestra offer a weekly service featuring the
             music of Johann Sebastian Bach's cantatas. This fall, as part of Trinity Wall Street's "Celebrating
             Britten" festival, many Bach at One services will feature at least one work by the versatile and
             prolific composer, Benjamin Britten, in honor of his 100th birthday. Free. 1pm. Broadway at
             Fulton Street. trinitywallstreet.org

             Open Art Classes at the Church Street School for Music and Art 
             Jewelry making, sewing, cards, gifts and more. For all ages. $10/hour. 3:30-5:30pm. Pick-up
             available from local schools. More info at 212-571-7290 churchstreetschool.org

             Free Cardio Sculpting Class 
             Cardio conditioning program to increase strength, flexibility and endurance. Mondays 6pm. 6 River
             Terrace (next to Le Pain Quotidien Cafe, BPC). More info HERE

             Yoga at the Community Center at Stuyvesant High School 
             7pm - 8pm. Fee: $140 for 8 sessions, or pro-rated. Through December 16. ccshs.org

             Hats off to Bacteria at the New York Academy of Science
             The Science and the City series presents a panel discussion about the strong connection researchers
             have observed between our bodies and the billions of bacteria that call us home. From probiotics
             to fecal transplants, science and medicine are gaining a better understanding of how influencing our
             microbiome can lead to dramatic health benefits.
             $25, $20, $15, 7 - 8:30pm. 7 World Trade Center, 40 Floor.  Register at nyas.org/bacteria

                                                               photo by Robert Simko




             Affordable Housing Opportunity  
             The Church Street School for Music and Art will be hosting its annual
             Gingerbread House Decorating Workshops fundraiser (which helps fund programs
             at the non-profit school), starting December 7. 
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                                                                                 The cost to participate is $95, which
                                                                                 gets you a handmade gingerbread
                                                                                 house, plus all the candy and
                                                                                 homemade icing you need to make it
                                                                                 über-festive. Workshops will be held
                                                                                 at 2:15pm and 4pm on Saturdays
                                                                                 (December 7, 14, and 21) and 11am,
                                                                                 1pm, and 3pm on Sundays (December
                                                                                 8, 15, and 22). To register, please call
                                                                                 212-571-7290 or e-mail
             gb@ChurchStreetSchool.org  
             More information is available at churchstreetschool.org

                                                                photo by Robert Simko


             Bulletin Board
             Community Notices
              
             The Water Street Pops Winter Festival
             The series of free, outdoor activities and special events in Water Street's privately owned public
             spaces (POPS), that debuted in the summer is back with some events designed for winter
             entertainment. It will include live music performances, after-work happy hours, food tastings,
             fitness classes, and much more. For more information about the Water Street Pops program and a
             calendar of events, click HERE.
              
             Native American Art Market 
             at the National Museum of the American
             Indian 
             This annual event features hand-made jewelry,
             baskets, textiles, ceramics and beadwork by 39
             award-winning Native artists from throughout the
             Americas. It takes place this weekend, Dec. 7 - 8,
             from 10am to 5pm, and attendance is free. Tickets
             to the Preview Party that features special
             presentations and a cocktail reception on Friday,
             Dec. 6 are available at nmai.si.edu/artmarket 
              
             Bulb Planting in Washington Market Park
             Volunteers are encouraged and welcome to help plant hundreds of bulbs Monday through Friday
             this week, from 9am - 2pm. Bring a friend, gloves provided. Colorful results promised in the
             spring.  washingtonmarketpark.org

                                                                                      
              
              
              

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                                                                                     Holiday Lights in South Cove
                                                                                     Celebrate the season at the annual tree
                                                                                     lighting hosted by the Battery Park City
                                                                                     Parks Conservancy in South Cove. The
                                                                                     menorah will be lit starting on November
                                                                                     27, and on December 5 at 5:45 Santa will
                                                                                     join the a cappella Accidentals for carol
                                                                                     singing, merry making and refreshments.
                                                                                     Please support Stockings with Care by
                                                                                     bringing a new unwrapped gift for a child
                                                                                     or teen living in city shelters.
                                                                                     bpcparks.org
                                                                                      
                                                                                      
                                                                                      
                                                                                      
                                                                                      
                                                                                      
                                                                                      
                                                                                      

                                                                                     Spreading Holiday Cheer
                                                                           Stockings with Care, a charity founded
                     by Battery Park City resident Rosalie Joseph, is now embarking on its 22nd year of
                     purchasing gifts for underprivileged children, and needs your help. Supporters are asked to
                     sponsor a child by purchasing gifts from that recipient's wishlist and dropping them off at
                     the organization's Santa's Workshop in mid-December. (Stockings with Care will arrange
                     delivery.) Those who don't have the time to shop are welcome to make tax-deductible
                     contributions directly to Stockings with Care, where the staff will handle the shopping, the
                     wrapping, as well as the down-the-chimney-and-under-the-tree part. For more information,
                     please browse the group's website, StockingsWithCare.org
                     The New York Rescue Mission: A Shop for the Homeless Christmas Catalog allows
                     you to give specific items to someone in need. nycrescue.giving-hope.org
                     Aid Typhoon Haiyan victims:
                     Philippine Red Cross: redcross.org.ph or 1-800-REDCROSS
                     World Food Programme: wfp.org or Text AID to 27722 to donate $10
                     International Rescue Committee: rescue.org or Text REBUILD to 25383 to donate $10
                     Donate Used Soccer Gear: From Monday, November 25 to Thursday, December 5
                     donations can be dropped off in any of the collection boxes located at local schools:
                     P.S./I.S. 89, P.S. 150, P.S. 234, P.S./I.S. 276 and P.S. 397. Clean uniforms, socks, shin
                     guards, cleats, sneakers and soccer balls will be distributed by the US-Africa Children's
                     Fellowship to impoverished schools in Zimbabwe, Ghana and South Africa. For more
                     information please visit childrensfellowship.org. For information about the collection, please
                     email Diana Solash at solasdi@yahoo.com 




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                      The Broadsheet 
                      (Nov. 17 - Dec. 3)
                is available in building
                        lobbies.

                   Click the image
                   to see it online.

                     It is distributed
                    to most doorman 
                 residential buildings in 
                  Battery Park City, the
                   Financial District,  
                the Seaport and Tribeca.
                               


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             RiverWatch
             Arrivals & Departures




                            A tug guides the Alice Oldendorff, a self­discharging bulk carrier, 
                                past Governors Island. To view the noisy spectacle of the 
                                       ship discharging crushed stone click below




                                                                  Drybulk ship
                                                              Alice Oldendorff at
                                                           Brooklyn Navy Yard Basin

                                                                            
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                                                       Monday, December 2 
                                              Explorer of the Seas
                  Inbound 7:30 am (Bayonne); outbound 4:00 pm; to Philipsburg, St. Maarten   
                                                        
                                        Tuesday, December 3 
                                               Carnival Splendor
                         Inbound 7:15 am; outbound 4:30 pm; to Nassau, Bahamas   

                                                                photo by Robert Simko


                                            Thank Guide Almighty!  
                               Click on The Doorman's Guide to Lower Manhattan 2013
                                           to view in a fresh flipbook format!




                                                                The printed edition of the 
                                                        Doorman's Guide to Lower Manhattan 
                                                        is available in most residential doorman
                                                       buildings in Battery Park City, the Financial
                                                            District, the Seaport and Tribeca. 
                                                                               
                                                                               

                               


             Downtown in the News
              
             "CME Group Agrees to Sell Nymex Building to Brookfield for $200 Million," The Wall Street
             Journal, November 26. "CME Group Inc. agreed to sell the Nymex Building in lower Manhattan to
             Brookfield Office Properties Inc.for $200 million in a sale-leaseback deal that provides space for
             the New York Mercantile Exchange trading floor and offices." Read more.
              
             "Fabricating.com Named Finalist in NYC's Prestigious H.E.L.M. Award," L.I. Newsday,
             November 27. "abricating.com, the developer of an online marketplace created exclusively for
             American custom manufacturing, was named one of 20 finalists in the Take the H.E.L.M.
             competition." Read more. 
              
             "Flatiron School Leaves Midtown South for Lower Manhattan," Commercial Observer,
             November 29. "The Flatiron School is leaving the creative mecca of Midtown South in favor of
             Lower Manhattan. The school will relocate from its location at 33 West 26th Street to 11 Broadway
             after being listed as a winner in the H.E.L.M: Hire + Expand in Lower Manhattan competition."
             Read more.
              
             "Standing Tall: Douglas Durst and the New World Trade Center," The Commercial Observer,
             November 26. "The Durst Organization's Chairman Douglas Durst on measuring America's tallest

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             building, lower Manhattan's dramatic rebirth, and energy efficiency controversies at 1 Bryant Park."
             Read more. 

                                         Subscribe to the BroadsheetDAILY by clicking HERE

                        
                                                             The BroadsheetDAILY
                           is Lower Manhattan's daily newspaper covering Downtown news, people, places
                                 and events. It is published Monday through Friday and available by
                                      online subscription and on our website ebroadsheet.com.
                        
                                                 The BroadsheetDAILY is an affiliate of
                            The Broadsheet, which is published every two weeks and distributed throughout
                            Battery Park City, the Financial District, the South Street Seaport and Tribeca.

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                                                            Contributors:  
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                                            Alison Simko, Brian Rogers and Sarah Smedley 
                                                                             
                                    We welcome your comments, suggestions, kudos and criticisms.  
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                                  Downtown News & Events
                                                 Friday, August 1, 2014
                                                                                                                            
                                                                                       Boarding the ferry, Governors Island




            Ambulatory Anxiety
            BPCA Board Member Voices Concern 
            about Pedestrian Safety at Liberty Intersection




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            At Thursday's meeting of the Battery Park City Authority (BPCA) board of directors,
            one member voiced grave concerns about pedestrian safety at the intersection of West
            and Liberty Streets, which has become the main point of access between Battery Park
            City and the World Trade Center complex, since it opened in May.

            "This is one of the most dangerous intersections in the City right now," observed
            BPCA board member Martha Gallo. "You have thousands of people at that
            intersection, standing at the edge of an eight-lane highway, with children and strollers,
            as cars race by."

            Ms. Gallo, the only member of
            the BPCA board who lives in
            Battery Park City, also noted,
            "there's no bridge that really
            works to take people back and
            forth between the Memorial
            and Battery Park City, so
            people are crossing at street
            level. There are no crossing
            guards, the conditions are
            really treacherous, and
            somebody is going to get hurt."
                                                            The large number of visitors to the 9/11 Memorial and
            She added, "it's not just people
                                                              Museum is exacerbating surrounding traffic and
            going to the Memorial, but also                               pedestrian conditions
            people leaving the Memorial
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            and coming to Battery Park
            City. Brookfield Place is advertising like crazy for people to come to Hudson Eats, and
            the way to get from the Memorial to Hudson Eats is this crossing."

            Ms. Gallo voiced particular concern about the high number of tourists who use this
            intersection. "They have no idea that this is a main thoroughfare, or that they are
            standing at the edge of a highway. It's ridiculous. This could turn into a disaster."

                                                                                         "What is the plan?" she asked.
                                                                                         "Who owns that safety issue? Is
                                                                                         it the State Department of
                                                                                         Transportation? Is it us? You've
                                                                                         got this puzzle of organizations
                                                                                         and it's not clear who's going to
                                                                                         take the lead on this."

                                                                      Gwen Dawson, the BPCA's
                                                                      senior vice president of asset
                                                                      management, replied, "the
              A new pedestrian plaza will eventually connect the intersection is only partially
                 World Trade Center to the glass entrance to          open, because the State
                                Brookfield Place                      Department of Transportation
                                                                      needed to have a ground-level
            crossing available before they closed the Liberty Street pedestrian bridge." (This
            temporary closure is slated for later this year, or early in 2015, during which time the
            temporary approach to the east end of this span will be removed, as the bridge is
            connected to an elevated park now under construction, between West and Greenwich
            Streets.) Ms. Dawson added that once frontage work is completed along the West
            Street side of the Brookfield Place complex (later this year or early next), a new
            pedestrian crossing will connect the World Trade Center site to the glass pavilion that
            marks the entrance to the Winter Garden.

            "If there's any conversation you can have in the meantime to influence this situation,"
            Ms. Gallo replied, "I just think we need to physically restrain people from being able
            to approach that highway." She added the suggestion that "signage and repositioned
            barriers" might help accomplish this.

                                                              Matthew Fenton
                                                            photos by Robert Simko
             
            Editor's Note: Yesterday's story, "Classical Revival: Restoring Landmarks Jurisprudential,
            Political, and Nautical" mistakenly referred to Peg Breen, President of the New York Landmarks
            Conservancy, as Peg Green.



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            Families on the Move
            To a warmer climate and their own pool


                                                              It's been nine years since Christopher and Rebecca
                                                              Messina moved to Battery Park City and began to
                                                              raise a family. First came Aiya, and then Malachi
                                                              followed by Hannah. One by one they grew up
                                                              enjoying Downtown's playgrounds and schools and
                                                              the friends that were made. But time moves on and
                                                              the Messina's have moved to Florida and send their
                                                              best to their Battery Park City friends.




                Aiya, Malachi, and Hannah
               Messina in front of their Battery
                      Park City school




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            August Camps and Activities

            There are several options for young children to
            get creative in the last month of summer before
            the schedule of school and studies kicks in. The
            Crafty Kids is hosting a mini-camp for 4 to 9 year
            olds the last two weeks of August on Tuesdays,
            Wednesdays, and Thursdays, August 19 to 21 and
            August 26 to 28, from 9:30am-12:30pm and 1:30-
            4:30pm. Each session includes movement
            activities, group and individual projects and arts
            and crafts ranging from soap making, maracas,
            and watercolors to a back-to-school theme at the
            end of the month.  Snacks will be provided and
            registration options are flexible. The location is                photo courtesy of The Crafty Kids
            165 William Street, 8th floor, and more
            information is available at 212-732-5182 or
            kidzcentralstation.com
                                                    
                                                   Church Street School founder and executive director, Lisa
                                                   Ecklund-Flores, was recently interviewed by
                                                   Parents Magazine on the importance of art and creativity in early
                                                   childhood development.  Speaking about artistic
                                                   experimentation she said, "Children who feel able to experiment
                                                   and make mistakes feel free to invent new ways of thinking." At
                                                   the Church Street School for Music and Art (74 Warren Street)
                                                   there are flexible camp options this month, which children can
                                                   attend for one or up to five days per week. 
                                                    


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                                         For 3 to 5 year-olds, Summer Arts Express (August 4 - 14) offers
                                         music and movement using the Dalcroze Eurhythmics
                                         approach, song circle, dramatic play, and visual art.  The hours
                                         are 9:15am -12:15pm and/or 1:00 - 4:00pm.  
                                          
                                         For 6 to 12 year-olds, Arts Adventure Camp (August 4 - 8 and
                                         August 11 - 15) takes the students to exciting parts of the city to
                                         explore, sketch, and sculpt.  Backpacks are provided with
                                         everything necessary to soak up the sights and sounds of some
                                         of the city's most
                                         inspiring museums and
                                         other highlights.


                                                  For 8 to 14 year-olds, Rock
                                                  the House (August 4 - 8 and
                                                  August 11 - 15) matches
                Founder and director Lisa
                                                  students with band
                Ecklund­Flores at a recent
                                                  coaches for practice, jams
              Church Street School for Music
                                                  and rehearsals. Theory,
                       and Art gala
                                                  singing, and private
                     photo by Robert Simko
                                                  instrumental instruction         photo courtesy of Church Street School
                                                  are included, with an
            emphasis on composition and improvisation. By the end, students will have written songs and
            collaborated with other musicians to form a band. More info at churchstreetschool.org
             
            For those looking to cool off from the summer heat, the newly-renovated 75 x 45 foot pool at the
            Community Center at Stuyvesant High School is one of the most appealing and affordable nearby
            bodies of clean water to dive into. During the summer (through August) the pool is open for family
            swim Monday - Thursday from 3 - 6pm, Fridays 3 -7pm, Saturdays and Sundays 10am - 2:30pm. 
            Learn to Swim classes are offered on Saturdays through August 16 for all ages and stages (members:
            $198; non-members: $225, pro-rated). Private swimming lessons are available at $120 for 3 half-hour
            sessions and $200 for 5 half-hour sessions. One-day passes are $15 for adults and $10 for seniors,
            students and youth and the facilities include a fitness center, basketball, handball and volleyball
            courts and a dance studio. For more information about memberships and classes, visit ccshs.org

                                                                   Caroline Press
             




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                             Click the cover and flip through the new edition.
                       Hard copies will be available in building lobbies in a few days.




                       The Doorman's Guide to Lower Manhattan 2014
                                Look for it in your lobby!


                                      The new edition of the Broadsheet 
                                             (July 26 ­ August 25)




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            This Day in History
            August 1st
                               Aerial view illustration of Manhattan depicting Castle Clinton


            30 BC - Octavian, later known as Augustus, enters Alexandria, Egypt,
            bringing it under the control of the Roman Republic.
            1619 - First African Americans were
            traded in Jamestown, Virginia
            1794 - Whiskey Rebellion begins in
            western Pennsylvania to protest the
            excise tax placed on distilled spirits.
            1812 - Rare tornado hits Westchester
            County
            1834 - Slavery abolished throughout
            the British Empire when the Slavery
            Abolition Act of 1833 comes into          George Washington reviews the troops
                                                         before their march to suppress the
            effect                                               Whiskey Rebellion
            1855 - Castle Clinton in Battery Park
            opens as the first receiving station for
            immigrants in the United States
            1883 - Amsterdam's Grand Hotel Krasnapolsky gets electric lights
            1896 - Frank Samuelsen and George Harbo, in the Fox, reach the Isles of
            Scilly off Great Britain, becoming the first people to row across the
            Atlantic. They had departed from the southern tip of Manhattan fifty-five
            days earlier. Their record time was not
            broken for one-hundred and fourteen years.
            1941 - The first Jeep is produced as a
            military vehicle
            1943 - Race riot in Harlem began after an
            African-American soldier
            who inquired about a woman's arrest for
            disorderly conduct was shot by a police
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            officer
            1944 - Anne Frank wrote her last diary
            entry. Three days later, she was arrested
            1955 - Microgravity research begins
            Birthdays
            1714 - Richard Wilson, Welsh landscape
            painter
            1819 - Herman Melville, New York, author
            of Moby Dick
            1885 - George de Hevesy, Hungarian
                                                                                            Harbo and Samuelsen with
            chemist, Nobel laureate recognized for his                                              the Fox
            work in the development of radioactive
            tracers to study chemical processes

            Edited from various sources including historyorb.com, the NYTimes.com and other internet searches. 
             




            The Weekend Calendar




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                                                                  City Hall Park



            Friday, August 1
            Greenmarkets
            City Hall: 8am - 4pm 
            Staten Island Ferry Terminal: 8am - 7pm
            Union Square: 8am - 6pm
            Available now at the markets: all kinds of vegetables, herbs, orchard fruit, cut flowers, cider, bread
            and baked goods.

            Downtown Libraries
            Battery Park City Library
            175 North End Ave. (212) 790-3499 nypl.org
            Mon. 10am-6pm; Tues. 12-8pm; Weds. 10am-6pm; Thurs. 12-8pm; Fri. 10am-5pm; 
            Sat. 10am-5pm.
            New Amsterdam Library
            9 Murray Street (212) 732-8186 nypl.org 
            Mon. 11am-7pm; Tues. 10am-6pm; Weds. 11am-7pm; Thurs. 10am-6pm; 
            Fri. 10am-5pm; Sat. 10am-5pm.

                                                                    Visit Governors Island
            Enjoy the summer season at Governors Island, with 30 new acres of park and arts,
            cultural and recreational programs. Now open seven days per week, through
            September 28. But the formerly free ferry to and from the island (which departs from
            the Battery Maritime Building, at the foot of South Street, between Whitehall and
            Broad Streets) is now priced at $2 per round trip. Ferry info and a calendar of events
            at govisland.org More info at governorsislandalliance.org 
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                                                                        Programs presented by the National
                                                                        Park Service: 
                                                                        nps.gov/gois   
                                                                         
                                                                        Build a City of Poems on
                                                                        Governors Island
                                                                        An exhibition of children's art
                                                                        and poetry. Onsite activity
                                                                        stations invite elementary
                                                                        school-age children to make
                                                                        their own poetic scrolls and
                                                                        create 3D pop-up poetry cards.
                                                                        presented by Poets House on
            Governors Island at 406B Colonel's Row. Open 11am - 3pm.  Free.   poetshouse.org 
             
            Game On! 
            A new summer series of activities on Water Street launched last week.
            It includes an urban beach, beer garden, food trucks, and a variety of games such as
            mini-golf, foosball, a giant connect-4, nok hockey, shuffleboard and more. For more
            information and a schedule of events, click HERE.

            Tai Chi on the Esplanade Plaza
            Greet the day with the ancient Chinese martial art, taught by experienced teacher, Alex
            Hing. No experience required. Free. Through October 31 (not 8/29, 10/10) . 8:30 -
            9:30am. bpcparks.org

            BPC Seniors 
            Standing exercises with light aerobics using the Richard Simmons and the Silver Foxes
            DVD. 10:30 - 11:30am. Free. 21 West Thames Street.  

            FiDi Families at the South Street Seaport
            Family friendly activities and music at the summer stage. 10am. FiDiFamilies.com

            Summer Dance! 
            At the National Museum of the
            American Indian
            A participatory event with interactive
            dance programs and storytelling
            hosted by different Native American
            artists each week. Tuesdays through
            Fridays at 11am and at 1pm in the
            Diker Pavilion. First come, first
            served. Through Aug 1: Ty Defoe
            (ONeida/Ojibwe).
             americanindian.si.edu  

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            Origin Tales: Films at National Museum of the American Indian
            Three short animated films teach children about the lives and cultures of Native
            peoples whose ancestors have lived in the Pacific Northwest for thousands of years. 1
            and 3pm. Free. 1 Bowling Green, nmai.si.edu

            Ship Open House presented by the South Street Seaport Museum
            Tour the historic vessels of the South Street Seaport Museum. Pier 16 on the East
            River. $12, $8, $5. 11am - 5pm. Weds. to Sun. seany.org

            Tennis Lessons for Kids at the Community Center at Stuyvesant High School
            Group indoor tennis lessons for ages 8-14 on Monday, Wednesday, and Friday
            afternoons from 4-6pm through August 8. Lessons can be purchased as a package of
            nine sessions for $450, or as individual drop-in classes for $60 each. Call 646-210-4292
            for more information. 345 Chambers Street. ccshs.or

            Sunset Jam on the Hudson in Wagner Park
            Sponsored by the Battery Park City Parks Conservancy
            Drum some pagan skins in an evening drumming circle led by master drummers.
            Improvise on African, Latin and Caribbean rhythms. Led by master drummers
            Maguette Camara and Mary Knysh, these free gatherings will both teach basics (like
            traditional drumming patterns and establishing a steady heartbeat pulse) and inspire
            improvisations, like call-and-response chanting and drumming. Instruments are
            provided, or bring your own. No experience necessary. All ages welcome. 6:30 to 8pm.
            For more information, please call 212-267-9700 or browse bpcparks.org Through
            August 22.

            Friday Night Sunset Sail on the Good Yacht Ventura
            The Ventura is a beautiful, wooden sailing yacht - the grand lady of the harbor. Every
            Friday evening in summer she welcomes individuals, couples, and networking groups
            aboard for a unique cruise in New York Harbor. 6:30 - 9pm, depending on wind and
            tide.  sailnewyork.com




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                                                         Ventura in North Cove


            Saturday, August 2
            Greenmarkets: 
            Tribeca: 8am - 3pm
            Union Square: 8am - 6pm
            Textile Recycling - 8am to 1:30pm
            Compost Collection - 8am to 1pm

            Weekend Ferry Service to New Jersey
            While PATH train service between New Jersey and the World Trade Center is
            suspended on weekends for Hurricane Sandy-related repairs, discounted weekend
            ferry service between Paulus Hook terminal in Jersey City and the World Financial
            Center terminal is provided by NYwaterway.com 
            Statue Cruises is also offering weekend ferry service between the World Financial
            Center (WFC) and Warren Street in Downtown Jersey City, stopping also at Liberty
            Landing Marina.

            Destination Red Hook: Free Ferry
            Saturday and Sunday, from 11am to 9:30pm, between Pier 11 in Manhattan and the
            Brooklyn docks at IKEA and the Fairway supermarket. This NY Water Taxi ferry
            service will run through Labor Day. A full schedule can be found HERE.

            Weekend Traffic Alerts: 
            Click on Street Closures or MTA Bridges and Tunnels
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            Summer Streets
            Annual celebration of NYC's most valuable public space - our streets. On three
            consecutive Saturdays in August, nearly seven miles of NYC's streets are opened for
            people to play, run, walk and bike. Brooklyn Bridge to Central Park, along Park
            Avenue and connecting streets. Rest stops, art installations, music, arts & crafts,
            zipline, voice tunnel, climbing wall and more. 7am - 1pm. Free. More info HERE.

            Free Kayaking at the Downtown Boathouse
            on Pier 26
            Fridays, Saturdays and Sundays and holidays:
            9am - 6pm through mid-October
            Weekday evenings: 5 - 7pm in July and August. 
            Free classes, usually on Wednesdays: 6 - 8pm. 
            Select Saturday, Sunday and holiday
            mornings: free three-hour trip on the open
            Hudson River for more experienced kayakers.
            Governors Island Pier 101:  free kayaking on Saturdays 10:30am - 4pm. 
            All are welcome - experienced rowers and beginners alike.
            downtownboathouse.org/pier26

            Ink Experiments: Children's Workshop 
            at the Museum of Chinese in America
            A Chinese calligraphy workshop that teaches basic skills. 11 am. $10. 215 Centre St.
            mocanyc.org

            For Kids! From Drills to Drums: Civil War Life on Governors Island
            Take a step into the past and meet Governors Island residents from hundreds of years
            ago. Kids and grown-ups will see first-hand the lives of soldiers, civilians and prisoners
            on the island in the 19th century. No tickets or reservations required, but if you're a
            large school or day camp group, call 212-825-3045.  Free.  10:20am and 11:20am.
             nps.gov/gois

                                                                                     Drawing in the Park
                                                                                     Presented by the Battery Park
                                                                                     City Parks Conservancy
                                                                                     Sketch and paint the Hudson River
                                                                                     and parks with an artist/educator.
                                                                                     Materials provided. South Cove.
                                                                                     Free. 10am - 12pm. bpcparks.org

                                                                                     Children's Storytime
                                                                                     at Barnes and Noble
                                                                                     Free every Saturday. 11am. 97
                                                                                     Warren Street. barnesandnoble.com

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            Front/Row Cinema: at the Seaport
            Free outdoor movie screening. 8pm. southstreetseaport.com

            Strictly Dishonorable at The Flea Theater
            Delightful play by Preston Sturges presented by the Attic Theater Company, directed
            by Laura Braza. Through August 10. 7pm Daily and 3pm on Saturdays.  No shows on
            Mondays. For more information and tickets, visit HERE.


            Sunday, August 3
            Hudson River Park Nature Walk
            Learn about Hudson River Park's wildlife by joining experienced naturalists on guided
            nature walks along the Park's esplanade. One hour, two miles. Sundays through Sept.
            28, 9am.

            Pop-Up Maker Space by Google on Pier 25
            Guided maker workshops challenge participants to design and construct projects
            inspired by both innovative technologies and traditional crafts. Come build, tinker and
            create in an enriching environment filled with possibilities. Free. Materials provided.
            10am - noon. Through August 28. (Thursdays at 14th Street Park.)
            hudsonriverpark.org

            Big City Fishing on Pier 25
            A free program for ages five and
            up provides rods, reels, bait and
            instruction about river ecology
            and the many fish species that
            can be found in the river.
            Excellent outdoor family
            recreation. Sundays 1-5pm.
            Mondays 5 - 7:30pm. Free.
            Through September 28.
             hudsonriverpark.org

            Visit Governors Island
            See listing for Friday above. Also, food options on the island: Little Eva's, a beer
            garden that also serves salads and sandwiches; Perfect Picnic, where customers can
            take away a packed lunch of bread, cheeses, and charcuterie (and then find a spot to
            spread out a blanket); and Veronica's Kitchen, a provider of West Indian favorites,
            such as Jerk Chicken and Curry Goat. Also available: Blue Marble Ice Cream,
            Brooklyn Soda Works, Carl's Philly Cheesesteaks; and Mayhem & Stout, which
            specializes in gourmet sandwiches made with braised meats. Ferry info and a calendar
            of events at govisland.org More info at governorsislandalliance.org

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                                                      On the Ferry to Governors Island


            Badminton at the Community Center at Stuyvesant High School
            Bring a racquet. 1:15 - 5:30pm (also Thursdays 6:30 - 8:30pm.). Gym members free.
            Day Pass Fee: Adults - $12, Seniors/Students/Youth - $10. 345 Chambers Street. 646-
            210-4292. ccshs.org

            KidAround! at the South Street Seaport
            Family event series featuring live music, story-time with popular characters, games and
            more, at the Front/Row stage. Free. 4pm. southstreetseaport.com

            Sweet Sounds of Summer 
            with the Knickerbocker Chamber Orchestra at the Seaport
            An outdoor concert by Lower Manhattan's hometown chamber orchestra. Brush up
            your waltz, tango and foxtrot, or just sit back and enjoy the timeless tunes of Johann
            Strauss, Irving Berlin and other great song and dance masters at a free, outdoor
            concert conducted by Gary S. Fagin. 5pm at the outdoor stage at Fulton and Front
            Streets, at the South Street Seaport. For more information visit knickerbocker-
            orchestra.org. For a map click HERE.

            Back to Top 
             
                            Please confirm the information above by calling or going online, because details may have changed.
                                                                photos by Robert Simko
                                                                               


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            Orchestral Maneuvers in the Dusk
            Knickerbocker Chamber Orchestra to Host Dance Concert 
            at Seaport




               Last summer's outdoor concert by the KCO on the Brookfield Place plaza delighted
                                          an audience of all ages


            One highlight among the many outdoor events on offer in the summer is a
            good old-fashioned dance concert. Next Sunday (August 3), Downtown's
            hometown ensemble, the Knickerbocker Chamber Orchestra (KCO), is
            providing just such an occasion at the outdoor stage at Fulton and Front
            Streets, in the Seaport. 

            The free performance, "Sweet Sounds of Summer," conducted by KCO
            founder and director Gary S. Fagin, will feature the timeless tunes of
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            Johann Strauss, Irving Berlin and other great song and dance masters. The
            notes of classic ballads and melodies will enchant both those who come to
            listen as well as those in search of a fast-paced foxtrot or a warmhearted
            waltz. The concert starts at 5pm, and a map of the location is available
            HERE. 
            For more information about the KCO visit knickerbocker-orchestra.org

                                                              photo by Robert Simko




            First Precinct's "National Night Out Against Crime"




                 First Precinct Community Council President Anthony Notaro at the podium, with
                State Assembly Speaker Sheldon Silver on his right, at last year's National Night Out
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            On August 5 the First Precinct's Community Council is hosting a "National
            Night Out Against Crime," an event that has been celebrated for 30 years
            by communities from coast to coast on the first Tuesday of August. 

            The local gathering will take place on the Battery Park City Esplanade Plaza
            from 5:30 to 8pm. There will be free hot dogs and burgers, kids rides,
            music and tables set up by local school PTA's, representatives from the
            district attorney's office and other local organizations. Captain Brendan
            Timoney and members of the First Precinct squad, as well as civic and
            elected leaders, will be on hand to greet visitors. A short ceremony will take
            place at 6:30pm. 

            The Community Council meets the last Thursday of every month at the
            First Precinct premises, 16 Ericsson Place, at 6:30pm. All those interested
            in community and police issues are invited to attend, but visit
            1stprecinctcc.org to sign up for email updates about schedule changes. The
            website also provides helpful crime prevention tips. 

            More information about the First Precinct Community Council is available
            at (212) 334-0611 or 1stprecinctcc.org/national-night-out




                                                First Precinct National Night Out 2013 
                                                         on the Esplanade Plaza




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            RiverWatch
            Arrivals & Departures
                                                                            




                                                 Baylander IX­514:
                         Heralded as the US Navy's "smallest aircraft carrier," this historic
                        vessel is docked at Brooklyn Bridge Park's Pier 5 on weekends for
                          free ship tours that will highlight her history and extraordinary
                      service. Only 131 feet in length, Baylander served in Vietnam before
                        being converted into a helicopter trainer for pilots from the U.S.
                       Navy, Marines, Air Force, Coast Guard and National Guard. Tours
                      are offered Saturdays from 10 am to 4 pm and Sundays from 10 am
                                            to 2 pm through Labor Day.
                                                    More info HERE
                                                   Photo credit: US Navy


                                                                  
                                                          Saturday, Aug 2
                                                    Norwegian Gem
                               Inbound 9:15 am; outbound 3:30 pm; 8-day Bahamas cruise
                                                                   
                                                            Sunday, Aug 3

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                                           Norwegian Breakaway
                        Inbound 7:15 am; outbound 4:30 pm; 7-day Bermuda cruise
                                              Celebrity Summit
              Inbound 6:30 am (Cape Liberty terminal); outbound 4:00 pm;8-day Bermuda cruise
                                                        
                                                            Monday, Aug 4
                                                       Carnival Splendor
                               Inbound 7:15 am; outbound 4:30 pm; 9-day Eastern Caribbean cruise

                                                           Saturday, Aug 9
                                                       Norwegian Gem
                                 Inbound 9:15 am; outbound 3:30 pm; 8-day Bahamas cruise
                                                   Explorer of the Seas
                      Inbound 7:30 am (Cape Liberty terminal); outbound 4:00 pm; 6-day Bermuda cruise

                                                            Sunday, Aug 10
                                                     Norwegian Breakaway
                                   Inbound 7:15 am; outbound 4:30 pm; 7-day Bermuda cruise
                                                      Celebrity Summit
                               Inbound 7:15 am; outbound 4:30 pm; 9-day Eastern Caribbean cruise
                                                                

                                                                             
              Many ships pass Battery Park City on their way to and from the midtown passenger ship terminal. Others may be seen on
             their way to or from docks in Brooklyn and Bayonne. Stated times, when appropriate, are for passing the Colgate Clock and
                are based on sighting histories, published schedules and intuition. They are also subject to tides, fog, winds, freak waves,
                                      hurricanes and the whims of upper management.  Photos by Robert Simko. 

            Downtown in the News  




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            Unruly ferry horns driving away residents in Battery Park City, NY Post, July 28. A year ago,
            when Lilia Stroker and her young family moved into the Riverhouse - a tony Battery Park City condo
            with sprawling $6 million pads - she was expecting an oasis: rest, relaxation and a respite from the
            din of city living. Read more. 

            Teens caught aboard 'Casino Royale' yacht, NY Post, July 30. "Two kids from the projects
            wanted to feel like billionaires for a night, so they slipped aboard several glitzy megayachts docked
            near the World Financial Center - telling cops they were 'just chill in' on them, law enforcement
            sources said." Read more.

            Protestant nonprofit to buy downtown office condo, Crains NY Business, July 31. 
            "The Federation of Protestant Welfare Agencies is acquiring an office condo at 40 Rector St. for
            more than $13 million. The nonprofit follows other groups, who prefer to buy rather than rent to
            avoid paying real estate taxes."  Read more.

            Origins of Mysterious World Trade Center Ship Revealed, livescience.com, July 28. 
            "In July 2010, amid the gargantuan rebuilding effort at the site of the World Trade Center in Lower
            Manhattan, construction workers halted the backhoes when they uncovered something unexpected
            just south of where the Twin Towers once stood." Read more.

            Durst under pressure, could lose share if 1 WTC sales don't spike, NY Daily News, July 28. "It's
            crunch time for the Durst Organization at 1 World Trade Center. Despite popular wisdom that
            Douglas Durst's 10 percent, joint-venture partnership with the Port Authority was a sweetheart deal,
            it turns out he's under the gun to find new tenants or face getting booted from the project." Read
            more. 

            Port Authority of New York and New Jersey Tells Store to Drop 9/11 Items, New York Times,
            July 28. The Port Authority of New York and New Jersey has a "great concern." It is not about the
            state of the region's airports. Read more. 


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                                and events. It is published Monday through Friday and available by
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                                  Downtown News & Events
                                           Thursday, October 23, 2014
                                                                                                                      South Cove           




           When Does a Breach in a Window Frame
           Equal a Breach of Contract?
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           Lease Terms Give BPCA Options If Gateway Landlord Fails to
           'Keep and Maintain Buildings in Good and Safe Order'




                         The Gateway Plaza apartment complex situated beyond North Cove

           The first apartment complex built in Battery Park City hasn't aged gracefully. After 30
           years, the 1980s infrastructure and fixtures at Gateway Plaza had reached the point at
           which last winter's cold temperatures made the deficiencies of both the climate control
           units and the window insulation in many of the apartments unmistakably clear. This led
           to an agreement by the landlord, the LeFrak Organization, to replace more than 3,000
           climate control units, which has addressed some residents' concerns about habitability
           and quality of life.

           But, as a new winter approaches, other issues remain unresolved: most notably, the
           window frames that many residents claim allow rain and snow to accumulate inside
           apartments in winter, and allow cooled air to escape from dwellings in summer. State
           Assembly Speaker Sheldon Silver commented that, "the windows at Gateway Plaza are
           inadequate, forcing residents to endure frigid conditions in the winter and having to
           pay outrageously high electric bills. That is why I have been leading the effort, along
           with the Gateway Plaza Tenants Association, to replace the windows throughout the
           complex. Earlier this year, we succeeded in convincing the landlord to replace all
           heating/air conditioning units as a first step in the process of improving conditions for
           all Gateway tenants. I will continue the work I have done for many years to address a
           wide range of maintenance and quality of life issues at Gateway. I have also spent
           decades fighting to keep thousands of apartment units affordable for Battery Park City
           families."

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           Both of these issues, as well as others, may be affected by provisions contained in the
           ground lease that allows the landlords of Gateway Plaza to operate the giant rental
           complex. These provisions require the LeFrak Organization to maintain the six
           buildings properly, according to documents reviewed by the Broadsheet. The lease also
           says that failure to maintain the property could result in its ground lease being
           cancelled, which could enable the Battery Park City Authority (BPCA) to force the
           LeFrak Organization out of the lucrative role it has played at Gateway Plaza since the
           early 1980s, and bring in another real estate company to operate the six buildings.

           Although the LeFrak organization built Gateway Plaza and has acted as the landlord
           there since the complex opened, they do not truly own it. Instead, they lease the land
           on which the buildings are located through the year 2069, and pay "ground rent" to the
           BPCA. (The Authority, in turn, conveys this money, along with funds collected from
           other buildings in Battery Park City, to the City and State.) Through the end of the
           ground lease, LeFrak is entitled to run Gateway Plaza as a business, collecting rent in
           much the same way that a landlord who owned the property outright would.

           The lease that governs this arrangement says that
           LeFrak, "shall, at its expense, take good care of the
           premises and all equipment and shall keep and
           maintain the buildings (which the tenant was
           obligated to construct pursuant to the Gateway
           Plaza Sublease) in good and safe order and
           working condition and shall make all repairs,
           internal and external, structural and non-
           structural."

           While the terms "good and safe order and working
           condition" are not explicitly defined in LeFrak's
           lease with the BPCA, they could reasonably be          Snow and ice accumulate inside
           interpreted to include issues such as the gaps          Gateway windows in midwinter
           between window frames and walls in numerous
           dwellings, which allowed rain and snow inside
           residents' apartments last winter, leading to bitter complaints about safety, habitability,
           and quality of life.

           The lease also spells out the BPCA's recourse in the event that LeFrak fails to live up
           to its obligations: "If certain defaults shall occur, the Authority shall have the right to
           terminate the Gateway Plaza Sublease." Apart from the literal definition of default as
           non-payment of ground rent, the lease also defines it as "failure to perform any other
           provision of the Gateway Plaza Sublease if such failure continues for a period of 30
           days after notice by the Authority to tenant, unless such failure could not by its nature
           be cured within such 30 days, in which case tenant is required to remedy such failure
           with reasonable diligence." In so far as the requirement to keep the complex in "good
           and safe order and working condition" qualifies as another provision of the lease,
           failure to comply with these terms could fall within the definition of default, entitling
http://campaign.r20.constantcontact.com/render?ca=42f39411­f522­455e­9865­643e26acdb98&c=5968c120­45c8­11e3­9a71­d4ae5292c4dd&ch=5a4369b0­45c...   3/21
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           the BPCA to cancel LeFrak's lease for the Gateway complex, and begin the process of
           recruiting another real estate firm to act as landlord for the 1,600-plus rental units
           housed within. This possibility is made explicit in a clause that says, "In the event of a
           default... the Authority will have the right to terminate the Gateway Plaza Sublease and
           at its option relet the premises and seek damages."

           Even without canceling Lefrak's lease (or while such a process is in motion), the lease
           additionally empowers the Authority to step in and make repairs in Lefrak's place, with
           or without its consent. A section of the lease titled, "the Authority's Right to Perform,"
           says, "if an event of default shall have occurred under the Gateway Plaza Sublease, the
           Authority shall have the right to perform any obligation on tenant's behalf," meaning
           Lefrak's behalf, "and any monies expended by the Authority shall be repaid by tenant
           [again, meaning LeFrak] with interest on demand." This clause appears to raise the
           possibility that the BPCA could decide to take action on its own to remedy some of
           the conditions that have for years been the focus of chronic complaints by residents.

           State Senator Daniel Squadron said, "it is critical that over the long-term, Gateway
           Plaza's affordability is protected and its residents are ensured buildings that are well-
           maintained and comfortable to live in. As we saw with the quality of life improvements
           we worked together to achieve earlier this year -- which started with the installation of
           new cooling/heating units and electrical meters -- we know that it is possible to make
           progress. Along with our colleagues and residents, we will continue to share these
           priorities with management and the Battery Park City Authority."

           Glenn Plaskin, president of the Gateway Plaza Tenants Association (GPTA), said,
           "with the support of our elected officials, the GPTA is committed to improving the
           quality of life at Gateway in every way possible. The Landlord has recently
           implemented a number of constructive capital improvements -- most notably the
           installation of all new heat-and-air conditioning units, electric sub meters, and
           intercoms. This came about as a result of a negotiation lead by Senator Daniel
           Squadron, Speaker Silver, City Council member Margaret Chin, congressman Jerry
           Nadler, and others. This was GPTA working collectively with our representatives at its
           best. Working together, as we have, we are confident that management will continue to
           upgrade the property."

                                                              Matthew Fenton
                                                            photos by Robert Simko




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           Entertainment for All Ages
           Upcoming Highlights at Tribeca PAC 




                                                                   "Hatched!"

           The Tribeca Performing Arts Center (Tribeca PAC), located on the campus of the
           Borough of Manhattan Community College at 199 Chambers Street, offers an
           remarkably wide range of dance, music, film, comedy and theatrical performances.

           Along with the jazz, blues and many other genres for adult audiences, there are a large
           number of programs that are appropriate for children as well. The upcoming concert
           by "rock star" violinist David Wong who performs rock, pop, and other top 40 hits
           with his ensemble group High Strung (Friday, November 14) is sure to appeal to all
           ages.  The same goes for Metropolis (Thursday, November 13), a rousing musical
           featuring hip hop, ballet, salsa and acrobatic dance styles that tells the story of
           Shenzhen's transformation from a small fishing village into one of China's most
           vibrant cities.

           Tribeca PAC also offers shows specifically geared to children. The Tribeca Family
           Theater series, primarily adaptations of classic children's books to the stage, caters to
           the very young. On Saturday, October 25, an interactive show for toddlers and
           preschoolers, Hatched, uses live music, dance, theater and puppets to tell the story of a
           newborn chick who hatches into a bustling world. This is followed by Judy Blume's
           Otherwise Known as Shelia the Great (November 15);  A Christmas Carol, (November 23)
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           and Junie B. in Jingle Bells, Batman Smells! (December 20). These Saturday performances
           are at 1:30pm and the $25 ticket price is reduced to $12 with the purchase of a 10Club
           membership for $120. More information is available at tribecapac.org/family

           The Schooltime Educational Theatre program presents plays, musicals, circuses,
           concerts, and dance for school-age children. This series is designed to supplement
           classroom curricula and subsidized tickets and study guides are available for school
           groups.  Their next offering is City That Drinks The Mountain Sky on Friday, October 24
           at 10:15am and 12pm. Presented by the Hudson valley's Arm-of-the-Sea eco-conscious
           theater group, the play is set in the Catskills where puppet performers portray the
           importance of protecting the watershed and its valuable water supply.  On a related
           theme, Water: Stories of Change, live storytelling about the precious resource's destructive
           force, takes place on Monday, November 10 at 8pm.  

           For more information call (212) 220 - 1460 or visit tribecapac.org/theater




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                      All are welcome to join long-term recovery organizations
                   from all five boroughs on Tuesday, October 28 at a ceremony in
                 Bowling Green Park at 6:30pm to mark Sandy's two year anniversary.




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           Today's Calendar
           Thursday, October 23
            




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                                                        Calatrava's Transit Center 
            
           Today's Greenmarkets
           Bowling Green: 8am - 5pm
           Andaz Farmers Market: 11am - 6pm (Andaz Wall Street Plaza, Wall & Water Streets)
           Seaport Youthmarket: 12 - 5pm (19 Fulton Street)
           Water Street: 8am - 6pm (between Hanover Square and Broad Street)
           Available this month: spinach, red leaf lettuce, romaine and cauliflower, celery, fennel, leeks, baby
           scallion, baby onions, jerusalem artichoke, peanuts, napa cabbage and jujubes (an oval autumn South
           Asian fruit with the taste and consistency of an apple.

           Downtown Libraries
           Battery Park City Library
           Mon. 10am-6pm; Tues. 12-8pm; Weds. 10am-6pm; Thurs. 12-8pm; Fri. 10am-5pm; Sat. 10am-
           5pm. 175 North End Avenue. 212 790-3499. nypl.org
           New Amsterdam Library
           Mon. 11am-7pm; Tues. 10am-6pm; Weds. 11am-7pm; Thurs. 10am-6pm; Fri.10am-
           5pm; Sat. 10am-5pm. 9 Murray Street 212 732-8186. nypl.org

           Preschool Play
           Join toddlers, parents and caregivers for interactive play on the Wagner Park lawn.
           Toys, books and play equipment provided. Mon, Tues, Weds, 10am - 12pm. Through
           Oct 29. bpcparks.org

           Stories and Songs
           Presented by the BPC Parks Conservancy
           Music and movement provided by live musicians for caregivers to enjoy with infants,
http://campaign.r20.constantcontact.com/render?ca=42f39411­f522­455e­9865­643e26acdb98&c=5968c120­45c8­11e3­9a71­d4ae5292c4dd&ch=5a4369b0­45c...   9/21
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           toddlers or preschoolers. Remaining sessions pro-rated. Register at 212-267-9700 ext.
           363 or at bpcparks.org

           Smithsonian's National Museum of the American Indian Daily Screenings: Especially
           for Kids Films for families. 10:30am, repeated at 11:45am. Free. americanindian.si.edu
           Cultural Presentation
           Meet a Cultural Interpreter, one of the Museum's Native American educators, and
           learn about materials from throughout the Americas. 2:00pm - 4:00pm. Free.
           americanindian.si.edu

           Concert At One at Trinity Church
           Concerts at One presents a series of professional vocal and instrumental performances
           by emerging and established artists that features a diversity of music styles, from jazz to
           classical. These weekly concerts provide a musical respite for neighborhood residents,
           downtown workers, tourists, and music lovers. This week: Early Music for Trumpet
           and Organ including works by Bach, Handel, and Palestrina featuring West Point
           artists Craig Williams on organ and William Owens on trumpet.
           trinitywallstreet.org/concertsatone

           Wall Street Coin, Currency and Collectibles Show IV
           Museum of American Finance
           The fourth annual Wall Street numismatic show (formerly the Wall Street Bourse) will
           once again take place at the Museum of American Finance. Themed "America the
           Beautiful" this year, dealers from near and far will trade, sell and tell stories about their
           coins, stock certificates, paper money, medals, autographs and other financial
           memorabilia. Begins today at 12pm-7pm and continues Friday 10am-4p and Saturday
           10am-3pm (Auction 10:30am). moaf.org

           Wood Type Poster Workshop
           In this 3-hour workshop participants will collaborate on designing and printing a
           broadside poster from moveable wood type. Each student will go home with their test
           prints and 3 copies of the group's poster. 6pm. Bowne Printers, 209 Water Street.
           southstreetseaportmuseum.org/events/

           Thursday Sunset Trips Aboard the Historic Tug Pegasus
           Tug Pegasus Preservation Project is offering Thursday Sunset Trips to raise funds for
           the restoration of the engineer's cabin, scheduled to start this winter. The trips will
           depart from Hudson River Park's Pier 25 at 5pm and return there at 7pm. Visitors on
           board will be treated to an unobstructed view of the sunset over the Hudson River
           from comfortable deck chairs enjoying light refreshments. Capacity of 12 at
           $100/person. To reserve a place emailpamela@tugpegasus.org. Continues each
           Thursday throughout October. tugpegasus.org

                                                               photo by Robert Simko  

           This Day in History
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           October 23nd




                                        Claude de Jongh's 1632 "View of London Bridge"


           1091 - Tornado strikes the heart of London killing two and demolishing the then-
           wooden London Bridge. 'London Bridge' refers to the numerous bridges that have
           spanned the River Thames between the City of London and Southwark over the years,
           the first of which were timber bridges built by the Roman founders of London. At one
           point, the London Bridge was a stone-arched bridge as well as a medieval structure. It
           is currently a box girder bridge
           1888 - Pelham Bay Park in Bronx vested
           1915 - Twenty-five thousand women march in New York City, demanding right to
           vote
           1941 - Walt Disney's Dumbo released
           1947 - Husband and wife, Dr. Carl Cori and
           Dr. Gerty Cori, are the first spouses to be
           awarded joint Nobel Prizes. The Cori's each
           received a fourth of the Nobel Prize in
           Physiology or Medicine "for their discovery
           of the course of the catalytic conversion of
           glycogen," and the other half went to
           Bernardo Alberto Houssay "for his discovery
           of the part played by the hormone of the
           anterior pituitary lobe in the metabolism of
           sugar"
           1956 - Thousands of Hungarians protest
           against the government and Soviet
           occupation. This marked the start of The
           Hungarian Revolution, which was crushed
           on November Forth                                        The Galileo spacecraft
           1964 - Time magazine uses term "op art" for             is deployed from Atlantis
           the first time
           1977 - Paleontologist Elso Barghoorn
           announces that thirty-four-billion-year-old one-celled fossils, the earliest life forms, had
           been discovered. Barghoorn has been called "the father of Pre-Cambrian
           palaeontology." He was born in New York City and in 1972 was awarded the Charles
           Doolittle Walcott Medal
           1989 - Sixty-second American-manned space mission STS 34, the fifth flight for
           Atlantis, returns from space. The mission lasted just short of five days, and it was
           during this journey that the Galileo probe was deployed from Atlantis bound for Jupiter.
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               Case this journey that the Galileo Document
                      1:15-cv-06119-AJN-JLC       probe View as a webpage
                                                         was 373-26
                                                               deployedFiled
                                                                          from06/19/17
                                                                               Atlantis bound forofJupiter.
                                                                                         Page 56     67
           Galileo went on to become the first spacecraft to orbit Jupiter and later discovered the
           first asteroid moon
           1998 - Israeli-Palestinian Conflict: Israeli Prime Minister Benjamin Netanyahu and
           Palestinian Chairman Yasser Arafat reach a "land for peace" agreement.
           2000 - In what is known as the "Monday Night Miracle," the Jets, down thirty to seven
           at the end of the third quarter, pull together a rapid and improbable comeback with
           four touchdowns and a field goal in the fourth quarter, and eventually defeat the Miami
           Dolphins forty to thirty-seven in overtime




                                         Titian's "Isabella of Portugal," 1584, oil on canvas

           Birthdays
           1503 - Isabella of Portugal, queen of Spain and empress of Germany
           1844 - Robert S. Bridges, England, poet laureate from 1913 to 1930. A poet laureate is
           a poet who is expected to compose poems for special occasions. Bridges was a
           physician and a member of the Fellowship of the Royal College of Physicians of
           London, and subsequently the only medical graduate to have held the office of Poet
           Laureate
           Anniversaries
           1918 - Actor Charlie Chaplin, twenty-nine, weds Mildred Harris, seventeen
           1996 - American caricaturist Al Hirshfeld, ninety-three, weds Louise Kerz
           Deaths
           1581 - Michael Neander, German mathematician, teacher, medical academic, and
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           astronomer. Neander, a lunar impact crater in the southeastern part of the near side of
           the Moon, is named for him
           1901 - Georg von Siemens, founder of Deutsche Bank, dies
           2011 - John McCarthy, American computer scientist and pioneer in the field of
           Artificial Intelligence, as well as the inventor of the Lisp programming language
            
                                      edited from various sources by Cora Frederick 




           Eyes to the Sky, October 20 - 24, 2014
           Orionids Meteor Shower, Dark Morning Highlights




                                                    Comet Halley, source of Orionids
                                                      Credit: ESA/Max-Planck-Institute

           "Orionid meteors are known for their brightness and for their speed. These meteors are fast - they
           travel at about 148,000 mph (66 km/s) into the Earth's atmosphere," researchers wrote on
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                  at about 148,000 mph (66 km/s)Document
                      1:15-cv-06119-AJN-JLC      into the Earth's    atmosphere,"
                                                       View as a webpage
                                                              373-26              researchersPage
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           NASA's Orionids page.

           The Orionid meteor shower and the movement from old to new moon add to the
           fullness of the skywatcher's calendar this week. There will be the seasonal comings and
           goings of the stars and the near miss of a partial solar eclipse that will be enjoyed west
           of our region (the sun will be setting here as the eclipse begins). Relatively late risers
           may take advantage of a special window of opportunity for indulging in the wonders of
           dawn star and planet gazing as some of the darkest mornings - latest sunrises of the
           year - will occur during the next two weeks due to the trick of extended Daylight
           "Saving" Time.

                                                                At dawn, planet Jupiter shines high in the
                                                                southeast, above Regulus, the brightest star in the
                                                                constellation Leo the Lion. Tomorrow, a delicate
                                                                crescent moon lines up with the planet and the
                                                                star. The crescent appears at the base of the line-
                                                                up, adding ineffable charm to the early morning
                                                                darkness. Recent to rise above the east-
                                                                northeastern horizon at dawn, spectacular Arcturus
                                                                may be seen to the left of the threesome until
                                                                about 6:40, and a minute or two later everyday
                                                                through November 1st. Sunrise tomorrow is at
                                                                7:13; on Saturday, November 1st, sunrise will be at
                                                                7:26, dawn at 6:57! These are the same sunrise
                                                                times as from mid-December through January, and
                                                                it will be colder then. Note that on November 2nd
                                                                clocks fall back to Eastern Standard Time and the
                                                                sun will rise at 6:27.
                       Watch the thinning 
                       crescent Moon pass       Away from city lights, Orionid meteors may fall
                       Jupiter and Regulus      into your predawn viewing until November 7,
                          in early dawn
                                                although the peak of the meteor shower is
                                                predicted for after midnight tonight until 5:30am.
           The radiant is above Orion, to the south, but look with a wide view. About 20 awe-
           inspiring shooting stars per hour are predicted.

                                                                  Judy Isacoff
                                                               NaturesTurn.org




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           Community Board Meeting Scheduled October 28 




                                                                           
           CB1 Monthly Meeting: Oct. 28
           Location: The National Museum of the American Indian, 1 Bowling Green, Diker
           Pavilion for Native Arts and Cultures, 1st floor
           Guest Speaker: John Haworth, Senior Executive, National Museum of the American
           Indian in New York
           5:15pm: A tour of the museum will be conducted prior to the meeting. Meet at the
           ground floor at 5:15pm sharp and please RSVP to MAN01@cb.nyc.gov.
           6pm: A Public Hearing on CB1 Capital and Expense Budget Priorities 
           for the NYC fiscal year 2016 budget: 
           This hearing is residents' opportunity to let Community Board 1 know what your
           budget priorities are for our Lower Manhattan district. The board will finalize its
           priorities during the business session of the meeting following the hearing. All
           interested community residents are encouraged to attend. For more information call

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           212-442-5050 or email MAN01@cb.nyc.gov.

                                                                            
                                                            photo by Robert Simko
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                                                          The Broadsheet 
                                                                 
                                   (October 8 ­ 23) is now available  




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           The BPC Halloween Puppy Parade 
           Saturday, October 25 

           The Thirteenth Annual BPC Halloween Puppy Parade will be held on Saturday,
           October 25, starting at noon, on the BPC Esplanade at the South Cove wooden arbor.
           The parade will proceed from there in a northerly direction along the Esplanade to the
           plaza near North Cove Marina (where the volleyball courts are usually set up).
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                                                                              Costumed dogs (and maybe their owners)
                                                                              will be judged on their creative getups.
                                                                               In addition to Best Costume, prizes are
                                                                              awarded in the large and small breed




           categories for Best Owner/Dog Combo, Best
           Tail-Wagger, Best Dog Team, amongst others.
            
           The event is hosted by the Battery Park City
           Dog Association, whose website provides event
           listings, helpful dog tips, and some great photos of dogs in costumes at bpcdogs.org.
            


                                                              photos by Robert Simko


                                               Your Guide is Ready
                                  Click the cover and flip through the new edition.
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                                             or by calling 212-912-1106.




                                          The Doorman's Guide to Lower Manhattan
                                                2014Look for it in your lobby!




           RiverWatch 
           Arrivals and Departures




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                                                                  Serenity Now
                                                                            
                                                       Thursday, October 23 
                                                  Explorer of the Seas 
                              Inbound 7:30 am (Cape Liberty terminal); outbound 4:00 pm; 
                                            9-day Eastern Caribbean cruise

                                                          Friday, October 24 
                                                Carnival Splendor 
                        Inbound 7:15 am; outbound 4:30 pm; 8-day Eastern Caribbean cruise

                                                       Saturday, October 25 
                                                      AIDAluna 
                                          Inbound 7:15 am; in port overnight 
                                                     Royal Princess 
                                Inbound 6:45 am; (Brooklyn terminal); outbound 5:00 pm; 
                                        11-day Eastern Caribbean/Florida cruise

                                                         Sunday, October 26 
                                                   AIDAluna 
                               Outbound 6:30 pm; Caribbean/South America cruise 
                                               Norwegian Breakaway 
                         Inbound 7:15 am; outbound 3:30 pm; 8-day Bahamas/Florida cruise 
                                                                            
            Many ships pass Battery Park City on their way to and from the midtown passenger ship terminal. Others may be seen
             on their way to or from docks in Brooklyn and Bayonne. Stated times, when appropriate, are for passing the Colgate

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               Clock and are based on sighting histories, published schedules and intuition. They are also subject to tides, fog, winds,
                                         freak waves, hurricanes and the whims of upper management.   
                                                              Photo by Robert Simko
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           Downtown in the News
           Pace, Corporate Leaders Discuss Storm Preparedness At Summit,
           greenburghdailyvoice.com, October 21. "Pace University faculty and corporate and foundation leaders
           joined representatives from federal, state and local governments for the second "Summit on
           Resilience: The Next Storm" at Pace's Michael Schimmel Center for the Arts in Manhattan on
           Monday, Oct. 20."   Read more.

           Anthropologie seizes the entire Dey Street retail space, NY Post, October 22.
           "Quirky urban retailer Anthropologie has a lease out for 28,141 square feet at 195 Broadway, which
           would glom up the entire Dey Street corner retail space at the downtown office tower." Read more.

           Charting the Many Changes Coming to Tribeca's Hubert Street, Curbed, October 22.
           "For as short as Tribeca's Hubert Street is, the four block stretch between West and Hudson streets is
           undergoing a lot of change. Buzz Buzz Home first noted the "deep, luxurious rash" of new
           development poised to transform the street. Here's a look at what's to come." Read more.

           3 WTC to ride muni-bond market, Crains NY Business, October 22.
           "The sale of $1.6 billion of tax-exempt bonds to finance 3 World Trade Center is expected to take
           place as soon as next week, according to The Wall Street Journal. Developer Larry Silverstein is
           hoping to benefit from a turnaround in the municipal bond market."  Read more.

           Proposal would toughen bridge trespassing laws, Crains NY Business, October 13.
           "Sen. Charles Schumer wants a federal law to prohibit trespassing on high-profile structures after
           incidents involving people who scaled the Brooklyn Bridge and World Trade Center." Read more.


            
                                                            The BroadsheetDAILY
                          is Lower Manhattan's daily newspaper covering Downtown news, people, places
                                and events. It is published Monday through Friday and available by
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                                  We welcome your comments, suggestions, kudos and criticisms.  
                                                   editor@ebroadsheet.com 
            
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                                                                 the broadsheet                                                                                                                                                                                                                                                 Robert Simko



   SEATING,                                                                                       NARCS NEED
 Volume 19 Number 7                                                                                                                                   April 4 - 18, 2015                                                                           All Rights Reserved © 2015 The Broadsheet Inc.                   ebroadsheet.com




 WRITING, AND the Many or                                                                         TO PARK, TOO
                                                                                                                                                                                                                                                                                                      “To what purpose, April, do you return
              Amenities for                                                                                                                       New Rector                                         Arts Culinary, Visionary, and Lively                                                                  again?



  'RITHMETIC Facilities for
                                                                                                                                                                                                                                                                                                      Beauty is not enough.
                                                                                                                                                  Ascends to                                                                                                                                          You can no longer quiet me with the redness
                                                                                                                                                                                                                                                                                                      Of little leaves opening stickily.
                                                                                                   Does Undercover                                 the Pulpit                                                                                                                                         I know what I know..”
                                                                                                                                                                                                                                                                                                                          —Edna St. Vincent Millay

  Lower Manhattan                                       the Few?                                  Drug Unit Based in                               at Trinity
                                                    ELECTED OFFICIALS
                                                                                                   Brookfield Place
  Pre-K Capacity to
  Increase By 300-                                  MEET WITH BPCA
                                                  ABOUT BALL FIELDS AND
                                                                                                   Need to Curb Its
                                                                                                        Habit?
                                                                                                                                                    Church
                                                                                                                                                    BILL LUPFER AIMS
                                                                                                                                                                                                                                                                                                        NEWS &
                                                                                                                                                  TO CHALLENGE LOWER                                                                                                                                   COMMENT
   Plus This Fall
                                                      NORTH COVE

M                                                                                                B
                                                                                                              By Matthew Fenton
                                                                                                                                                 MANHATTAN COMMUNITY
                                                                                                                                                     IN WAYS LARGE
             By Matthew Fenton

                                                                                                                                                       AND SMALL
                                                                                                                                                                                                                                                                                                      Keeping Little
        ore than 350 new pre-kinder-                                                                   attery Park City’s already noto-
                                                  ‘The work that has been
                                                                                                                                                                                                                                                                                                         Heads Above Water

                                                                                                                                                 T
garten seats are coming to Lower                                                                 riously difficult parking situation may                                                                                                                                                              Asphalt Green’s Battery Park City
                                                 done to make North Cove

Manhattan, starting in the fall of this                                                          be on the verge of getting worse. A
                                                 a community amenity must
                                                                                                                                                              By Matthew Fenton                                                                                                                       community center is now accepting
year, the de Blasio administration an-                                                           specialized law enforcement unit,                                                                                                                                                                    applications from schools for the
                                                        not be undone’




                                                 A
nounced on Tuesday. The total of                                                                 HIDTA (which stands for High In-                      rinity Church, for 300 years one                                                                                                               September, 2015 start of its Water-
                                                              By Matthew Fenton
378 seats (198 of which are perma-                                                               tensity Drug Trafficking Area) re-              of the preeminent spiritual, cultural,                                                                                                               proofing program, which provides
nent, and 180 temporary) comprise a                                                              cently moved into a 56,000 square               and financial institutions in Lower                                                                                                                  free, 35-week courses in water safety
17 percent share of the 2,202 new                       delegation of Battery Park City          foot space in the Brookfield Place of-          Manhattan, has a new leader: the Rev.               Shop, Sup, Slake... Repeat: The wraps came off Brookfield Place’s new retail and restaurant      and swimming skills to public ele-
seats being created in all of Manhat-            Authority (BPCA) executives met                 fice complex, occupying the entire              Dr. William Lupfer took the reins as                mecca at the end of March. A gaggle of new shops opened, including Babesta, Bonobos, Cos         mentary schools. Groups of kids
tan, as part of the mayor’s commit-              with six elected officials representing         19th floor of 250 Vesey Street. The             Trinity’s 18th rector on February 22.                                                                                                                from schools on the Lower East Side
                                                                                                                                                                                                     Bar, Diane von Furstenberg, J. Crew, Judith & Charles, Michael Kors, Omega, Paul Smith,
ment to making pre-kindergarten                  Lower Manhattan on March 20 to                  facility will be staffed with 250-plus          “It’s a bigger and better job than I                                                                                                                 and Brooklyn currently come to As-
                                                                                                                                                                                                     Satya Jewelry, Theory, Tory Burch, Vince and Posman Books. They are soon to be joined by

education universally available in the           discuss ongoing concerns about                  law enforcement personnel from                  had expected,” Dr. Lupfer reflects.                                                                                                                  phalt Green’s Battery Park City cam-
                                                                                                                                                                                                     Hermès and Bottega Veneta and Saks Fifth Avenue will debut in 2016. But the launch that
                                                                                                                                                                                                     had gastronomes salivating was the food destination: Le District, was created by the HPH
city. This share may represent a sig-            North Cove Marina and the Author-               more than a dozen agencies, includ-             “It’s more complicated. But for a                   Restaurant Group, the impresarios behind Pier A, Harry’s Italian, Adrienne’s Pizza Bar, and      pus one morning per week (during
nificant victory for Downtown com-               ity’s process for allocating time on            ing the NYPD, the FBI, the DEA,                 priest, those challenges are fun;                   many other notable Lower Manhattan eating spots. The Café District, opened first with cof-       the school day) from September
munity leaders and elected officials             the Battery Park City ball fields.              Customs, United States Secret Serv-             they’re exciting and energizing.”                                                                                                                    through May. Each year, the Water-
                                                                                                                                                                                                     fee, crepes, waffles, pastries, and ice cream. The rest of the long-awaited, 30,000-square-
who have fought to win increased                      State Senator Daniel Squadron              ice, the New York State Police, the                  If the job is challenging, how-                                                                                                                 proofing program hosts more than
                                                                                                                                                                                                     foot, French-inspired marketplace debuted the following week, with stalls dedicated to

pre-kindergarten capacity in the area            hosted the meeting in his office. Also          New York City Department of Cor-                ever, Dr. Lupfer also appears willing                                                                                                                2,500 students from 40 public
                                                                                                                                                                                                     bread, fish, cheese, wine, and meat. On the menu are two fine-dining restaurants:
                                                                                                                                                                                                     Beaubourg, which focuses on, “both classic French, and new New York,” and L’Appart, where
south of Chambers Street for years.              present were U.S. Congress member               rection, and the New York State Di-             to challenge the community in which                 chefs will prepare meals to order before guests’ eyes.                                           schools. School administrators wish-
     State Assembly member Sheldon               Jerrold Nadler, Manhattan Borough               vision of Parole, among others. And             he is now a leader. In his first sermon                                                                                                              ing to learn more about the Water-
Silver said, “after working on this              President Gale Brewer, Assembly                 if long experience is any guide, many           as rector, he promised to lead Trinity                                                                                                               proofing program should e-mail
issue with my School Overcrowding                members Sheldon Silver and Debo-                of these officers will drive to work in         into, “a wilderness of many voices”                                                                                                                  waterproofing@asphaltgreen.org. Also, on
Task Force for the past year, Lower              rah Glick, and City Council member              cars bearing placards that effectively          and reflected on making the church,                                                                                                                  April 25, Asphalt Green’s Upper East
Manhattan has received a commit-                 Margaret Chin. The BPCA was rep-                mean they can park anywhere.                    “an outrageous community of gift-                                                                                                                    Side facility will host the Big Swim
ment for 378 additional pre-kinder-              resented by Shari Hyman, the Au-                     At the Tuesday meeting of the              giving.” He described this vision as,                                                                                                                Meet, a free competition open to kids
garten seats for the upcoming                    thority’s president and chief opera-            Battery Park City Committee of                  “the exact opposite of that little                                                                                                                   aged six through 12 that will intro-
2015-2016 school year. I am grateful             ting officer; Benjamin Jones, the               Community Board 1 (CB1), chair-                 street right out there,” gesturing to-                                                                                                               duce new swimmers to the thrill of a
that the Department of Education                 BPCA’s vice president for administra-           man Anthony Notaro said, “officers              ward Trinity’s front doors, which                                                                                                                    25-yard race, complete with starting
has responded to our calls for addi-             tion; Kevin McCabe, the BPCA’s                  have been taking over parking on the            open onto Wall Street. He spent his                                                                                                                  blocks, a timed finish, and t-shirts
tional seats to serve our fast growing           chief of staff, and Robin Forst, its            streets of northern Battery Park City.          first working day as rector not in his                                                                                                               and medals for all. Separately, the fes-
Lower Manhattan community.”                      vice president for external relations.          We’ve heard reports of problems                 office at Trinity but at Ossining                                                                                                                    tivities will also include a Big Swim
     City Council member Margaret                     In a joint statement, the six              from residents, particularly about en-          prison, in upstate New York. “My                                                                                                                     Benefit luncheon to raise funds for
Chin said, “over the past year, I                elected officials said they called the          trances to buildings being blocked, so          ministry began in prisons,” he recalls.                                                                                                              the Waterproofing program. Parents
worked hard to advocate for new                  meeting, “to continue our push for              that emergency services or school               “At Ossining, I visited cell blocks and                                                                                                              can register their children to partici-
pre-K seats in Lower Manhattan, and              the community on two issues: access             buses can’t get to the curb.”                   attended a theology class with people                                                                                                                pate in the Big Swim Meet (free of
I’m extremely pleased that we’ll now             to North Cove Marina and the Bat-                    Captain Brendan Timoney, com-              serving life and others getting out in                                                                                                               charge) at asphaltgreen.org. To purchase
have nearly 200 more permanent                   tery Park City ball fields.”                    mander of the NYPD’s First                      a few months. Some of them had                                                                                                                       tickets for the Big Swim Benefit, call
seats in our community for the up-                    The statement continued, “on               Precinct, said, “we’ve been working             lived or worked Downtown, and                                                                                                                        212-369-8890 (ext. 2232) or e-mail
coming school year, as well as 180               the marina, we made clear that the              with the HIDTA command, which is                knew Trinity. I went into that prison                                                                                                                benefit@asphaltgreen.org.
temporary seats in the Peck Slip                 promise to provide affordable and               not part of First Precinct, and we’ve           and saw neighbors, not people who
School. These new seats will allow               adequate access to the marina and its           had meetings with Brookfield Prop-              are in some way separate from us.”                                                                                                                   ‘An Unforeseen Calm’
more families throughout the Battery             sailing school must be kept. This               erties and the NYPD’s Intelligence                   Within days of taking the helm                                                                                                                  On Sunday, April 12 (at 1:30 pm)
Park City, Tribeca, the Financial Dis-           must be true for young people and               Division,” which oversees HIDTA.                at Trinity, Dr. Lupfer also moved to                                                                                                                 Trinity Wall Street will host its annual
trict and the South Street Seaport               adults, and for casual users, in addi-          “They have accepted our sugges-                 restart the process (already under-                                                                                                                  Poetry Festival at St. Paul’s Chapel
areas to access the high-quality, full-          tion to those who pay tuition. The              tions, and will leave open more space           way) of redeveloping Trinity’s parish                                                                                                                (209 Broadway, at the corner of
                                                                                                                                                                                                     Unveiled in the Winter Garden at the same time as the new retail and restaurant offerings
day pre-kindergarten that is having              work that has been done to make                 near the Irish Hunger Memorial and              house at 74 Trinity Place. He re-                                                                                                                    Vesey Street). Among the readers will
                                                                                                                                                                                                     was Soft Spin (above), a sound and sculptural installation by artist Heather Nichol, consist-

such a powerfully positive impact all            North Cove a community amenity                  will try to leave more space open by            booted the design process for what                                                                                                                   be J. Chester Johnson (author of half
                                                                                                                                                                                                     ing of six large-scale fabric forms suspended and gracefully swirling overhead. The effect re-
                                                                                                                                                                                                     minded some passersby of gently undulating jellyfish, while young boys were usually
across our city, and I’ll continue to            must not be undone.”                            building entrances.”                            had been planned as a residential sky-              reminded of looking up a giant skirt.                                                            a dozen volumes of verse, who also
push for more.”                                       Regarding the Battery Park City                 “I’m not going to sit here and tell        scraper by inviting not only the                                                                                                                     collaborated with W.H. Auden on the
     These seats will be spread among            ball fields, the statement from the             you those cars will disappear,” Cap-            church’s congregation, but also the                                                                                                                  modern translation of the Psalms)
                                                                                                 tain Timoney continued. “That unit              entire Lower Manhattan community                                                                                                                     and Anne-Marie Fyfe, whose poem,
                                                                                                 is here to stay. It’s a good thing for          (and anybody else who wishes to par-                                                                                                                 “Interstate,” an eloquent elegy about
                          continued on page 2                              continued on page 4

                                                                                                 this community, it gives you extra po-          ticipate) to take part in a dialog that                                                                                                              a woman deserting her husband at
                                                                                                                                                                                                                                                                                                      the side of a road, contains these

   Knickerbocker
    C H A M B E R                               O R C H E S T R A
                                                                                                 lice presence. But like anything else,
                                                                                                 you’re going to have bumps in the
                                                                                                 road.”
                                                                                                      Captain Timoney cited the exam-
                                                                                                 ple of photographs of illegally
                                                                                                                                                 will help determine the size, shape,
                                                                                                                                                 and use of the new building. More
                                                                                                                                                 than 200 people have thus far ac-
                                                                                                                                                 cepted the invitation, at open meet-
                                                                                                                                                                                                                                                                                                      lines: “She’s onto the freeway, jitter-
                                                                                                                                                                                                                                                                                                      ing across lanes. And why, he’ll won-
                                                                                                                                                                                                                                                                                                      der, now that the kids are gone, now
                                                                                                                                                                                                                                                                                                      that they’re free to hit the road each


      Music of the Gilded Age
                                                GARY S. FAGIN, MUSIC DIRECTOR
                                                                                                                                                 ings held on February 28 and March
                                                                                                 parked vehicles displaying police cre-          14. (There will be three more such                                                                                                                   spring.”
                                                                                                 dentials that he received. “We called           sessions, with the next one scheduled
                                                                                                 the sergeant who is the integrity con-          for May 2.) “My biggest joy is work-                                                                                                                 Need for Mail Enhancement
      KCO Soiree-Fundraiser at the elegantly restored Pier A!                                    trol officer at HIDTA,” he re-                  ing with groups in a way that invites                                                                                                                The U.S. Postal Service’s “Battery
                             Monday, April 20, 6pm to 8pm                                                                                                                                                                                                                                             Park Retail Unit,” an automated sub-
                                                                                                                                                                                                                                                                                                      station located at 88 Greenwich
                                                                                                                           continued on page 2                             continued on page 2
     Join us for fine wine and delectable hors d’oeuvres, admire stunning
                                                                                                                                                                                                                                                                                                      Street (near Rector Street), will close
     sunset views of New York Harbor, and listen to delightful Gilded Age
                                                                                                                                                                                                                                                                                                      permanently on April 17. A Postal
                                                                                                                                                                                                     Dance Hall Days: The eleventh annual P.S. 89 Talent Show featured 108 kids, from kinder-
     melodies, including “After The Ball,” “Ta-ra-ra Boom-de-ay,” and
                                                                                                                                                                                                     garten though fifth grade, in more than 60 performances, that ranged from singing, danc-
                                                                                                                                                                                                                                                                                                      Service representative says that this
     “There’ll Be A Hot Time In The Old Town Tonight,” performed by
                                                                                                                                                                                                     ing, comedy, piano and guitar playing. Among the highlights were Emily Young-Squire
                                                                                                                                                                                                     singing “Unconditionally,” as she accompanied herself on piano, Ashvica Sinha singing “Col-      move stems from the landlord’s de-
     KCO Music Director Gary S. Fagin and his wonderful KCO musicians!                                                                                                                               ors of the Wind,” and Jordan Dattoma and Molly Nelson (above) tap dancing to “Piano,” by
                                                                                                                                                                                                                                                                                                      cision not to renew the lease for the
     Tickets are $125 per person. Go to www. knickerbocker-orchestra.org                                                                                                                                                                                                                              facility, but also said that the Postal
                                                                                                                                                                                                     Ariana Grande. All funds raised by the Talent Show go to the school’s Parent-Teacher Associ-
     to make reservations, or call 917-929-8375. Seating is limited!                                                                                                                                                                                                                                  Service has no plans at this time to
                                                                                                                                                                                                     ation, to fund enrichments programs.

                                                                                                                                                                                                                                                                                                      replace the Battery Park Retail Unit
                                                                                                                                                                                                                              Under STRESS? In PAIN?                                                  with a similar facility anywhere
                                                                                                                                                                                                                                                                                                      nearby. Once the Battery Park sub-
                                                                                                                                                                                                                             can enhance your well-being
                                                                                                                                                                                                                               ACUPUNCTURE
                                                                                                                                                                                                                                                                                                      station is closed, the nearest auto-
                                                                                                                                                                                                                                                                                                      mated kiosks will be located at
                                                                                                                                                                                                                 Dr. Jonathan L. Harwayne                                                             Whitehall and Bridge Streets, and the
                                                                                                                                                                                                                                         In Battery Park City                                         closest full-service post office will be
                                                                                                                                                                                                                             Board Certified Acupuncturist

                                                                                                                                                                                                                                      212-786-9292                                                    the Church Street Station.

                                                                                                                                                                                                                               Accepting BlueCross BlueShield
                                                                                                                                                                                                                              ACUPUNCTURE-DOC.COM



                                                                                                                                                                                                 ®

                                                                                                       TRIBECA DRIVE-IN                                                                                                             APRIL 16 CLUE
                                                                                                                                                                                                                                                                    30TH ANNIVERSARY SCREENING




                                                                                                       BROOKFIELD PLACE AT 230 VESEY STREET                                                                                                                         60TH ANNIVERSARY SCREENING

                                                                                                       PRE-SHOW ACTIVITIES BEGIN AT 6:00 PM                                                                                         APRIL 17 LADY AND THE TRAMP
                                                                                                       FILMS AT APPROX. 8:15 PM, RAIN OR SHINE.
                                                                                                                                                                                                                                                                    TFF WORLD PREMIERE


 TRIBECAFILM.COM/FESTIVAL
                                                                                                       CO-SPONSORED BY                   HOSTED BY
                                                                                                                                                                                                                                    APRIL 18 A FASTER HORSE
                                                                                          Case 1:15-cv-06119-AJN-JLC Document 373-26 Filed 06/19/17 Page 67 of 67


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                                                                                                      the broadsheet                         April 4 - 18, 2015



                                                                                           NExT YEAR, EDUCATION WILL BEGIN A YEAR EARLIER FOR 378 LOWER MANHATTAN KIDS                                                                                                        CLASSIFIEDS &
                                                                                                                                                                                                                                                                               PERSONALS
                                                                                          continued from page 1


                                                                                          five locations. At the Seaport District’s new Peck Slip School (which is slated               “But the biggest problem is this,” Mr. Hovitz continues. “Where are all
                                                                                          to open in September), space that will not be needed for several years will               those pre-kindergarten students going to attend school the following year?
                                                                                          temporarily house 180 pre-kindergarten seats. The ground-floor space in                   They’re all going to need kindergarten seats in September 2016, and first grade
                                                                                          Tweed Courthouse (the Department of Education’s headquarters, on Cham-                    seats the year after that. But those seats don’t exist right now, because all of
                                                                                          bers Street) that has hosted an incubator for the Peck Slip School for several            our elementary schools are full. And those seats are unlikely, even in the best-          Swaps & Trades
                                                                                          years, will house 54 permanent pre-kindergarten seats, once Peck Slip has va-             case scenario, to exist for several more years.”
                                                                                          cated that facility and moved to its permanent building. Around the corner                    “So I’m happy for Downtown parents who will have a place to send their
                                                                                                                                                                                                                                                                                LOST AND FOUND
                                                                                                                                                                                                                                                                              Respectable Employment
                                                                                          from the Tweed building, at Two Lafayette Street, a new permanent facility                kids next September,” concludes Mr. Hovitz. “But those same parents are
                                                                                          containing 36 pre-kindergarten seats is being created within a City-owned                 going to be very unhappy in the fall of 2016, when the Department of Edu-                        212-912-1106
                                                                                          building.                                                                                 cation begins turning them away.”                                                          editor@ebroadsheet.com
                                                                                              The final location, at Two Washington Street in the Financial District,                   Eric Greenleaf, a Lower Manhattan parent who is also a member of Shel-
                                                                                          may prove to be contentious. This site, where a permanent facility containing             don Silver’s Overcrowding Task Force, notes, “the large number of new pre-
                                                                                          108 pre-kindergarten seats is being created, is in the same building as Expo-             kindergarten seats for Downtown is welcome news that the Department of




                                                                                                                       Lots More Pencils, Lots More Books: Lower Manhattan will soon have an additional 378 seats for pre-kindergarten students
      WORLD TRADE CENTER                                                                                                            like these, as a result of a concerted push by Downtown elected officials and community leaders
                                                                                          nents, a drug-addiction treatment center that stirred controversy in early 2014,          Education is serious about meeting the needs of our youngest students, who
                                                                                                                                                                                                                                                                              WE BUY JEWELRY & GOLD
                                                                                                                                                                                                                                                                               Located in Battery Park City
       DENTAL GROUP, PC                                                                   when it announced just before the New Year holiday that it would be moving                represent the fastest-growing segment of Downtown’s population. However,                  Appointments made citywide.
                                                                                          into the building days later. At the time, local leaders criticized this as an at-        we will need to make sure that there are enough elementary seats for these                       212-213-4000
                                                                                          tempt to evade legal requirements for advance notice and consultation with                same kids when they start kindergarten. That is one reason why it is so im-
          Services Offered:                                                               the community before siting such as facility.                                             portant to find a site, soon, for the elementary school that the Department                  HELP RESEARCHERS
      •Cleaning • Digital X-Rays                                                              What security measures will be in place at Two Washington Street to keep              of Education has funded Downtown.”                                                               Did you 'ride out'
                                                                                          pre-kindergarten students segregated from the recovering drug addicts and                     Tricia Joyce, who chairs Community Board 1’s Youth and Education                            Superstorm Sandy?
                                                                                          persons with criminal records who comprise a significant portion of Expo-                 Committee, says, “while I am very happy, of course, to see more pre-kinder-
    Restorative Crown • Bleaching
                                                                                          nents’ clientele was not immediately clear.                                               garten seats opening in our neighborhood, I am concerned that there might
    Implants • Veneers • Implants                                                                                                                                                                                                                                             Share your perspectives with us!
                                                                                              There are also other unanswered questions related to the expansion of                 be a loss of some perspective. One hundred and eighty pre-kindergarten stu-
                                                                                                                                                                                                                                                                              Online survey: www.surveymon-
  Restorative and Cosmetic Dentistry
                                                                                          pre-kindergarten service in Lower Manhattan. “We’ve been fighting for a pre-              dents in the extra rooms at our new Peck Slip school is hard to imagine.”
                                                 Dr. Richard Marchitto DDS has been                                                                                                                                                                                                key.com/s/RodeOut
                                                                                          kindergarten center at Tweed for some time,” says Paul Hovitz, co-chair of                    Ms. Joyce adds, “it was surprising to see that we instantly gained over 300
                                                 practicing dentistry for over 40 years
                                                  in Lower Manhattan. His first office                                                                                                                                                                                        Or contact Prof.Sharon Moran
                                                                                          Community Board 1’s Youth and Education Committee. “So this is welcome                    pre-kindergarten seats for the neighborhood, when the Department of Ed-
                                                      was in the WTC North Tower.
                                                         After 9/11 he moved to                                                                                                                                                                                                rodeoutthestorm@gmail.com
                                                                                          news. But Tweed has been the go-to site for incubation for new schools in                 ucation still hasn’t been able to secure a location for the new elementary
                                                     42 Broadway just up the block
                                                      from the Bowling Green Bull
                                                                                                                                                                                                                                                                                     or 929-244-027
  Recent studies have linked Periodontal Disease and Heart Health.
                                                                                          Lower Manhattan for years -- most recently for Peck Slip, and the Spruce                  school, our most urgently needed seats, 16 months after they were approved
          Brushing and ﬂossing may actually decrease the risk
                                                                                          Street School before that. The Department of Education says they are now                  and funded. If there is no Kindergarten for our pre-kindergarten students to               MAKE TIME FOR ART!
                      of coronary heart disease.                                          looking for a site for a new, 500-seat elementary school in Lower Manhattan.              matriculate into, all of this will be for naught.”                                         Ages 6 - adult. Certified art
                                                                                          But even if they found a site tomorrow, now that Tweed is committed as a                      Catherine McVay Hughes, chair of Community Board 1, says, “the addi-                    Parker vzulyz@gmail.com
        Come in for a checkup and learn more about how the                                pre-kindergarten center, where would they incubate that new school while its              tion of 378 pre-kindergarten seats for the upcoming school year is excellent                     Fb: vzulyz, inc
health of your teeth plays a signiﬁcant role in your general well-being.                  building is under construction? Another concern is that if the Department                 news from Assembly member Silver and his School Overcrowding Task
                                                                                          of Education can find space for 300-plus pre-kindergarten seats in Lower                  Force. The excellent public school system is a key reason why families want
We oﬀer an oral pre-cancerous exam with the velscope detection tool.
                                                                                                                                                                                                                                                                                    CUSTOM-MADE
                                                                                          Manhattan, why can’t they find a site for the 500-seat elementary school                  to stay Downtown and enjoy the community that we have worked hard to                                TUTORING
                                                                                          they’ve been promised for years?”                                                         build together.”                                                                            Private tutoring specially tai-

                                                                                                      PEDS SEE RED OVER FEDS’ SLEDS                                                            NEW RECTOR AT TRINITY CHURCH
                                                                                                                                                                                                                                                                              lored to each student’s needs.
   Most Insurance Accepted                      Richard Marchitto, DMD                    continued from page 1                                                                     continued from page 1
Insurances accepted Aetna PPO, Cigna PPO,      42 Broadway, Suite 1536                                                                                                                                                                                                         Focus on the accumulation of
                                                                                                                                                                                                                                                                                      Intellectual Skills.
                                                                                          counted, “and they were moved right        ficer should be parked in a bus stop.          their wisdom,” Dr. Lupfer says of               change in the community it anchors.
      Delta Dental PPO,Guardian PPO,                     212.968.0631
             EmpireDental PPO                  wtcdentalgroup@aol.com                                                                                                                                                                                                             Gabriel Lord Kalcheim
                                                    wtcdentalgroup.com                    away.”                                     The elderly and the young, we have             the groundbreaking dialog he has                A parish of farms and residences               gkalcheim@gmail.com
                                                                                              Captain Timoney also said that         to protect them.”                              sparked.                                        when the church was founded,              212 228-1314 917 837-5132
                                                                                          the HIDTA office had rented 130                 Mr. Gault continued, “I’ve seen                “I mean ‘wilderness’ as a place            Lower Manhattan eventually mor-
                                                                                          parking spaces within 250 Vesey            fire trucks trying to access buildings,        where we meet God,” Dr. Lupfer ex-              phed into a seaport and industrial           SPANISH LESSONS
                                                                                          Street, but said that many of these        but unable to get to the front door.”          plains. “It’s a place of incredible ex-         district, and then a warren of office
                                                                                          were for official police vehicles, used         Captain Timoney answered, “I’m            ploration and spiritual richness, but           towers for financial firms. During
                                                                                                                                                                                                                                                                              from a native Spanish speaker
                                                                                          in undercover operations. “There are       worried about a school kid who has             it’s also a place where there is no             these years, Trinity ministered to the
                                                                                                                                                                                                                                                                                (Spain). Adults, children,
                                                                                          some nondescript                                             to walk out in the           map, no guide.” He continued, “in
                                                                                                                                                                                                                                                                                    test preparations.
                                                                                          cars they don’t want                                         middle of the street         the wilderness, we have to slow down
                                                                                                                                                                                                                                                                                  Aliviolan@yahoo.es
                                                                                          public to get sight                                          because a bus can’t          and listen to each other, because we
                                                                                          of,” he said. He was                                         get to the curb. No          find the way together,” and observed
                                                                                                                                                                                                                                                                                      HOUSEKEEPING
                                                                                          unable to estimate,                                          parent should have           that, “there is no map for Trinity, no                                                     Home Health Attendant seeks
                                                                                          however, the num-                                            to worry about               book to tell us what to do.”                                                              FT babysitting and/or companion
                                                                                          ber of personal cars                                         their kid getting to              Dr. Lupfer notes that, “the most
Formerly in Tribeca, Chander Auto Repair has relocated to Mott Haven in                                                                                                                                                                                                        position. Available anytime. 14
                                                                                          that officers as-                                            school safely. Police        challenging, interesting part of the
           the Bronx and for your convenience is now oﬀering
                                                                                                                                                                                                                                                                              years experience as hotel house-
                                                                                          signed to HIDTA                                              vehicles should not          job is alignment between staff, com-
 Pick Up and Delivery of your vehicle for repairs and NYState Inspection
                                                                                                                                                                                                                                                                               keeping attendant. Excellent refs
                                                                                          might drive to the                                           be blocking fire hy-         munity, and vestry,” the body that
          Call Derrick 347-682-7429 chanderauto@yahoo.com
                                                                                                                                                                                                                                                                                     and resume available.



         BATTERY PARK
                                                                                          office and park on                                           drants, bus stops, or        serves as Trinity’s board of directors.                                                      Call Audrey 646-346-9219
                                                                                          nearby streets.                                              crosswalks.”                 “How do we communicate and get
                                                                                              Dennis Gault, a                                               Battery Park            aligned so that all the energy, passion,                                                   EXCELLENT CARE GIVER
                                                                                          member of CB1’s                                              City is the most             and interest can be timed and fo-

         VISION ASSOCIATES, PC
                                                                                                                                                                                                                                                                                 with 14 years of exp. seeks
                                                                                          Battery Park City                                            parking-deprived             cused and brought out together?” He                                                       LI/LO pos. as Home Attendant
                                                                                          Committee who lives in the north           community in the five boroughs of              answers, “we’re going to look for the

               Doctors of Optometry
                                                                                          neighborhood, said, “the problem is        New York City. With a residential              commonality and we’re going to con-
                                                                                                                                                                                                                                                                                or Elder Care Companion to
                                                                                          especially bad for the aged. Yesterday,    population of more than 13,000, it             nect based on that.”
                                                                                                                                                                                                                                                                               care for your loved ones. Refs

                “We Cater to the Hard to Fit”                                             one of these private cars parked in        has just 201 parking spaces available               Finding commonality is a thread
                                                                                                                                                                                                                                                                              avail. Please call Iona or Pollyann
                                                                                          front of a bus stop. The shuttle bus       to the public, of which 58 are me-             that is woven deeply into Dr. Lupfer’s
                                                                                                                                                                                                                                            Trinity Church’s new rector,                347-730-2817
        Dr. David Naparstek                 Dr. Michele Maxwell
                                                                                                                                                                                                                                              the Rev. Dr. Bill Lupfer
                                                                                          that had come to pick up an elderly        tered and 143 are unregulated, except          life. When he and his wife, Kimiko
                 2015 is our 27th Year in Battery Park City                               woman was unable to get to the curb,       by alternate-side parking rules.               Koga, married in 1990, “both of our             spiritual needs of bankers and
                                                                                                                                                                                                                                                                                     OCCASIONAL
101 Battery Place 212-945-6789 batteryparkvision.com                                      so she had to step into the slush.”        (These figures are taken from a re-            families had concerns,” he recalls.             lawyers on their lunch hours, but be-
                                                                                                                                                                                                                                                                                       BABYSITTING
                                                                                              Captain Timoney replied, “no of-       port by the City’s Department of               “Our parents were from a generation             came a church without a true congre-           Former NYC Teacher
                                                                                                                                     Transportation issued in 2008, the             in which Japan and the United States            gation, because so few people lived                  Experienced
                                                                                                                                     most recent year for which statistics          had been at war with each other.” But           in Lower Manhattan. Finally, in the                 BPC Resident
                                                                                                                                     are available.) While there is ample           when his father-in-law’s health failed,         decade following the terrorist attacks          fleurkinde@aol.com
                                                                                                                                     curb space within the community’s              a few years later, he invited Dr.               of September 11, 2001, Lower Man-
                                                                                                                                     92 acres (enough for more than 1,600           Lupfer to baptize him on his                    hattan has become a residential com-        POCKET WATCHES
                                                                                                                                     parking spaces), 59 percent of it falls        deathbed. “Even at that moment,”                munity once again. “Religious               and wristwatches sought
                                                                                                                                     within zones that are signed “no               Dr. Lupfer reflects, “he was teaching           communities look to their past to an-      Any condition 212-912-1106
                                                                                                                                     standing” (785 spaces) and “no park-           me and the rest of the family how to            ticipate their futures,” Dr. Lupfer ob-
                                                                                                                                     ing” (581 spaces). Much of the rest            live. He was a very wise man.”                  serves. “One of the opportunities we
                                                                                                                                     is set aside for commercial vehicles,               Dr. Lupfer’s arrival comes at a            see now with the community gather-
                                                                                                                                     buses, and vehicles displaying gov-            pivotal time for Trinity Church,                ing here is to share with the local
                                                                                                                                                                                                                                                                              Piano or Guitar Lessons
                                                                                                                                     ernment placards.                              which has weathered centuries of                community. We can share space, as             212-786-4376
                                                                                                                                                                                                                                    we design our new building. And we
                                                                                                                                                                                                                                    share by being a voice for people               The perfect gift.
                                                                                                                                                                                                                                    whose voices aren’t heard very often,         All ages, all levels,
                                                                                                                                                                                                                                    by having a heart for people who are          all types of music.
                                                                                                                                                                                                                                    suffering.”
                                                                                                                                                                                                                                                                               Many years of experience,
                                                                                                                                                                                                                                         Dr. Lupfer concluded his Febru-
                                                                                                                                                                                                                                                                                 first lesson on me!!
                                                                                                                                                                                      ENROLL N
                                                                                                                                                                                             NOW
                                                                                                                                                                                               OW FOR
                                                                                                                                                                                                  FOR                               ary 22 sermon by predicting, “we’re
                                                                                                                                                                                      SUMMER DAY CAMP!                              going to go big, we’re going to go         COMING SOON!
                                                                                                                                                                                                                                    bold, and the world will notice. Get
                                                                                                                                                                                      June 29
                                                                                                                                                                                           29–August
                                                                                                                                                                                              –August 21, 2015                      your rest folks, because it’s begin-
                                                                                                                                                                                                                                    ning.”
                                                                                                                                                                                      A
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